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                                Exhibit M
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                                  #:5467


                                                                         Page 1

  1                  IN THE UNITED STATES DISTRICT COURT
  2                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  3                           WESTERN DIVISION
  4                                 -oOo-
  5
       PAUL SNITKO, JENNIFER SNITKO, :
  6    JOSEPH RUIZ, TYLER GOTHIER,   :
       JENI VERDON-PEARSONS, MICHAEL :
  7    STORC, AND TRAVIS MAY,        :
                                     :
  8                    Plaintiffs,   :
                                     :
  9    vs.                           :   Case No.
                                     :   2:21-cv-04405-RGK-MAR
10     UNITED STATES OF AMERICA,     :
       TRACY L. WILKISON, in her     :
11     official capacity as Acting   :
       United States Attorney for the:
12     Central District of California:
       and KRISTI KOONS JOHNSON, in :
13     her official capacity as an   :
       Assistant Director of the     :
14     Federal Bureau of             :
       Investigation,                :
15                                   :
                       Defendants.   :
16     =====================================================
17
18                 VIDEOCONFERENCE 30(B)(6) DEPOSITION OF
19                             LYNNE ZELLHART
20                          FRIDAY, JUNE 30, 2022
21                    WITNESS APPEARING REMOTELY FROM
22                        THOUSAND OAKS, CALIFORNIA
23
24
25     REPORTED BY:                       SUSAN E. BELINGHERI, CCR #655
                                          NV Firm Lic. #053F

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                                  #:5468


                                                                         Page 2

  1                               APPEARANCES:
  2                   (all appearances via videoconference)
  3
                                     For the Plaintiffs:
  4
                               THE INSTITUTE FOR JUSTICE
  5                                Attorneys at Law
                               By: ROBERT FROMMER, ESQ.
  6                          By: ROBERT E. JOHNSON, ESQ.
                             901 N. Glebe Road, Suite 900
  7                               Arlington, VA 22203
  8
                                     For the Defendants:
  9
                         ASSISTANT UNITED STATES ATTORNEY
10                           ASSET FORFEITURE SECTION
                            By: VICTOR RODGERS, ESQ.
11                      312 North Spring Street, 14th Floor
                           Los Angeles, California 90012
12
13                         FEDERAL BUREAU OF INVESTIGATION
                              OFFICE OF GENERAL COUNSEL
14                           By: MEGHAN CAMPBELL, ESQ.
                             935 Pennsylvania Avenue NW
15                              Washington, DC 20535
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                                                                              Page 3

  1                                      I N D E X
  2
  3    EXAMINATION:                                                             PAGE
  4    By Mr. Frommer                                                              4
  5
  6
  7    EXHIBITS:       DESCRIPTION                                              PAGE
  8    (previously marked)
  9    Exhibit 3       Warrant By Telephone or Other
                       Reliable Electronic Means, USAO00001-
10                     00246..................................                    11
       Exhibit 8       FBI, U.S. Private Vaults Claim Form....                    56
11     Exhibit 10      Agent Observations and Notes,
                       FBI0000446.............................                    44
12
       (marked)
13
       Exhibit 12      Plaintiffs' Amended Notice of
14                          30(b)(6) Deposition................                    8
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                                                                             Page 4

  1                     PURSUANT TO NOTICE, and on Thursday, the

  2    30th day of June, 2022, at the hour of 10:05 a.m. of

  3    said day, at the offices of Bonanza Reporting &

  4    Videoconference Center, 1111 Forest Street, Reno,

  5    Nevada, before me, Susan E. Belingheri, a notary public,

  6    appeared LYNNE ZELLHART via videoconference.

  7                                      -oOo-

  8

  9                               LYNNE ZELLHART,

10                          having been duly sworn,

11                was examined and testified as follows:

12

13                                   EXAMINATION

14     BY MR. FROMMER:

15         Q.   Thank you, Special Agent Zellhart.

16              If you could, just for the record, could you

17     state your full name, title, and address please?

18         A.   Sure.     My name is Lynne, L-y-n-n-e, Zellhart,

19     Z-e-l-l-h-a-r-t.       I'm a special agent with the FBI in

20     Los Angeles.       And the address there is 11000 Wilshire

21     Boulevard, Suite 17, Los Angeles, California 90024.

22         Q.   Okay.     All right.     Well, thank you so much for

23     that.

24              We've met before, obviously.            As you know, my

25     name is Robert Frommer.          I'm an attorney at the


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                                  #:5471


                                                                             Page 5

  1    Institute for Justice.         We're a nonprofit public

  2    interest law firm, and we're representing the plaintiffs

  3    in this class action challenge concerning the execution

  4    of a search warrant at U.S. Private Vaults in March

  5    2021.

  6            Now, I know last time when we talked I went

  7    through a bunch of rules about how to conduct a

  8    deposition, and I'm just going to run through those

  9    really briefly.       I mean, at this point you're an old hat

10     at it, but, like, it's always good for -- to be

11     refreshed.

12             So I'm going to ask questions, and the court

13     reporter is going to be reporting both my questions and

14     the answers, and in order to do that, we have to speak

15     clearly and audibly by saying "yes" or "no," not

16     "uh-huh" or "uh-uh," because the court reporter can't

17     take that down.

18             Similarly, usually in normal conversation we'll

19     often interrupt one another as part of the normal flow

20     of conversation, but if you do that with a court

21     reporter, the entire record gets messed.                So it's

22     important that you wait until I finish answering --

23     asking my question, even if you think you know where I'm

24     going to go, and at the same time I will -- I will wait

25     until you are complete with your answer before I ask


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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 7 of 110 Page ID
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                                                                              Page 6

  1    another question.        Does that sound reasonable?

  2        A.    Yes.

  3        Q.    Okay.   Now, you were sworn in a moment ago by the

  4    court reporter, and you understand that that oath

  5    requires you to answer my questions truthfully and

  6    completely; right?

  7        A.    Yes.

  8        Q.    And, in fact, that's the same oath you would take

  9    if you were to testify in court before a judge.                   You

10     understand that?

11         A.    Yes.

12         Q.    Okay.   If you don't understand a question while

13     you're going -- going along, just let me know.                   I'll try

14     to rephrase.      If -- if you don't know the answer to a

15     question, if you honestly don't know the answer to a

16     question, you can say that, but if you do know the

17     answer, then you have to provide that answer in good

18     faith.

19               And generally I'll assume, unless you say

20     something to me, that you understood what my question

21     was.     If you want to talk to Victor or Ms. Campbell,

22     that's fine.      All I'd say is that if there's a question

23     pending to wait until -- or if you're in middle of an

24     answer, to finish the answer, or a line of questions,

25     and then you can speak to the attorney.


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                                                                             Page 7

  1             Because it's important to get full, complete, and

  2    accurate answers, I have to ask, I know that you've

  3    been -- you've been sick.          Is there anything about the

  4    sickness or any medications that you're taking that

  5    would make it difficult for you to understand and answer

  6    my questions today?

  7        A.   No.

  8        Q.   Okay.   Is there any other reason why you couldn't

  9    give full, complete, and accurate testimony today?

10         A.   No.

11         Q.   Okay.

12         A.   No reason.

13         Q.   All right.     And I will say periodically Victor or

14     Ms. Campbell might state objections.              You still have to

15     answer the question, generally, unless they specifically

16     instruct you not to answer.           Those are just to put it on

17     the record for later.

18              And if you would like to take a break at any

19     time, just let me know.          I'll finish up a line of

20     questioning, if we're in the middle of it, and then we

21     can take a break.       Okay?

22         A.   Yes.

23         Q.   All right.     All right.       With sort of that out of

24     the way -- well, before I begin in earnest, do you have

25     any questions of me today?


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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 9 of 110 Page ID
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                                                                              Page 8

  1        A.    No.

  2                      MR. FROMMER:     Okay.    All right.       Well, then

  3    I'm going to start by introducing an exhibit.                   So give

  4    me just a minute, here.

  5                      All right.     And that should be listed as

  6    Exhibit 12.        You should see it come up.          Let me know

  7    when you have that, a copy of that.

  8                     (Exhibit 12 marked at this time.)

  9                      THE WITNESS:     I don't, and I'm not sure --

10     you started with the hard stuff, here.                I'm not sure how

11     to get to the exhibits.           I don't have anything up.

12                       MR. FROMMER:     Okay.    Let's go off the record

13     for just a couple minutes, so that way we can get you

14     set up.

15       (An off the record discussion was held at this time.)

16                       MR. FROMMER:     All right.      Let's go back on

17     the record.

18     BY MR. FROMMER:

19         Q.    All right.     Special Agent Zellhart, I just

20     introduced what is Exhibit 12.             It is an amended

21     30(b)(6) notice of deposition that we sent to the

22     government.

23               Have you seen this document before?

24         A.    Yes.

25         Q.    Okay.     And is it your understanding that you're


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                                                                               Page 9

  1     appearing today on behalf of the United States to answer

  2     questions regarding the topics listed in this notice?

  3        A.     Yes.

  4        Q.     Okay.     And are there any topics -- I can go

  5     through these one by one.           Are there -- but let me ask

  6     this first:        Are there any topics listed in deposition

  7     notice that you're not prepared to testify on today?

  8                       MR. ROGERS:     I'll answer that question.              She

  9     is not going to testify on topics eight and ten, but she

 10     will testify on the rest of the topics.

 11                       MR. FROMMER:     Okay.    So no eight, no ten.

 12     Okay.     All right.     All right.

 13     BY MR. FROMMER:

 14        Q.     Now, other than for topics eight and ten, which I

 15     understand the government is designating someone else to

 16     testify about, can you generally describe your

 17     qualifications to speak on the topics identified in the

 18     notice?

 19                       MR. ROGERS:     Objection, compound.

 20                       THE WITNESS:     Sure.    So I'm the case agent.

 21     I'm the FBI case agent for U.S. Private Vaults, and as

 22     the -- as the case agent I'm the head person on this

 23     case.     So I am the person most knowledgeable about these

 24     aspects of the case, and I think I can speak to

 25     everything that's in here.


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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 11 of 110 Page ID
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                                                                          Page 10

  1     BY MR. FROMMER:

  2        Q.     Okay.     Great.

  3               And can you -- do you think there's anyone who

  4     you believe would be more knowledgeable than you on the

  5     topics listed in the deposition notice?                Other than

  6     topics eight and ten, obviously.

  7                       MR. ROGERS:     Same objection.

  8                       THE WITNESS:     No, I think I'm the best

  9     person.

 10     BY MR. FROMMER:

 11        Q.     Okay.

 12               Could you tell me, what did you do to prepare for

 13     this deposition today?

 14        A.     I spoke with attorneys for the United States

 15     Attorney's Office, I reviewed some exhibits from, I

 16     think -- I think from my past deposition, I spoke with

 17     Special Agent Madison MacDonald, who was co-case agent

 18     with me on this, to get some information from her about

 19     something that I thought she knew more about than I did,

 20     or as much, that she had some information about.                       And I

 21     think that's all.

 22        Q.     Okay.     All right.     Do you remember -- you said

 23     you reviewed some of the exhibits that were in your

 24     previous deposition.         Do you recall which ones you

 25     reviewed?


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                                                                        Page 11

  1        A.   Yeah.     I looked at the -- the -- one of the --

  2     the paragraph -- paragraph 108 from the seizure warrant

  3     affidavit again, and I looked at the FBI inventory

  4     policy again.

  5        Q.   Okay.     All right.     In fact, we're going to

  6     probably be discussing both of those today, so that's

  7     understandable.

  8             Any other documents that you can recall?

  9        A.   No.

 10        Q.   Okay.     That's fine.      Okay.     And I'm not going

 11     to -- I'm going to skip some of the basic background

 12     questions, because we've already discussed those at your

 13     previous deposition, and I understand that you're the

 14     case agent and you've been the case agent on this case

 15     for a number of years.

 16                     MR. FROMMER:     So with that, let me introduce

 17     -- well, let me ask a -- give me just a second.                 I want

 18     to introduce another exhibit.

 19                     All right.     This is -- has been previously

 20     marked at your -- as Exhibit 3.             This was, in fact, the

 21     seizure warrant we were just discussing.               So it's a

 22     large file, so let me know when you have access to it.

 23                   (Exhibit 3 was previously marked.)

 24                     THE WITNESS:     Okay.      I have it.

 25                     MR. FROMMER:     All right.      Great.


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                                  #:5478


                                                                          Page 12

  1                       MR. ROGERS:     I'm sorry.      Give me just a

  2     second.

  3                       MR. FROMMER:     Sure.

  4                       MR. ROGERS:     I have it, too.        Thank you.

  5                       MR. FROMMER:     All right.      I am --

  6     unfortunately, it is slowly working its way to me.                     Give

  7     me just a second.           I can just pull it up as a PDF.

  8                       All right.     Okay.     Sorry about the delay.

  9     BY MR. FROMMER:

 10        Q.     If you could go to page 223, paragraph 108 of

 11     Exhibit 3, please.

 12               Were you able to locate those pages?

 13        A.     It's thinking.

 14        Q.     Yeah.

 15        A.     I think it might still be loading.              But, I mean,

 16     I have that -- I have that paragraph.

 17        Q.     Yeah.

 18        A.     I printed it.

 19        Q.     Okay.     Well, then let's just keep talking --

 20        A.     Sure.

 21        Q.     -- since you know exactly what paragraph I'm

 22     talking about.

 23        A.     Yeah.     I do.

 24        Q.     Yeah.     Can you -- can you read me the sentence

 25     that begins on line 19, please?


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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 14 of 110 Page ID
                                  #:5479


                                                                        Page 13

  1        A.   Sure.

  2             Agents will follow their written inventory

  3     policies to protect their agencies from claims of theft

  4     or damage to the contents of the boxes, and to ensure

  5     that no hazardous items are unknowingly stored in a

  6     dangerous manner.

  7        Q.   Okay.     And what I'm -- what I'm wondering about

  8     in that sentence -- and it says:

  9             Agents will follow the written inventory

 10     policies.

 11             So what was the inventory policy that the

 12     government followed in conducting the inventory search

 13     in U.S. Private Vaults?

 14        A.   Right.     So it's the inventory policy in the DIOG

 15     section -- I don't know the section numbers.                But it's

 16     written -- it's formally written in a section of the --

 17     of the Domestic Investigations Operations Guide of the

 18     FBI.

 19        Q.   And then you used that section from the DIOG to

 20     create the supplemental instructions on box inventory;

 21     is that correct?

 22                     MR. ROGERS:     Just a second.       I just want to

 23     object, because this is a 30(b)(6) deposition pertaining

 24     to particular categories.         I understand that this

 25     question might pertain to a particular category, but it


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                                                                        Page 14

  1     hasn't been linked to any category.             And this deals with

  2     the substance of the categories.            And so I want to

  3     object on that basis.

  4                    MR. FROMMER:      I'm not clear what you're

  5     asking for, Victor.

  6                    MR. ROGERS:      So she -- so this is a 30(b)(6)

  7     deposition of the witness on ten different categories,

  8     and my understanding is that in these depositions you go

  9     from category to category.          You just don't ask questions

 10     about -- that might pertain to any of these ten

 11     categories.     Now, I understand --

 12                    MR. FROMMER:      No.    That's --

 13                    MR. ROGERS:      -- this is --

 14                    MR. FROMMER:      That's not my understanding.

 15     I've never done a 30(b)(6) deposition that way, and I've

 16     done multiple, numerous 30(b)(6) depositions.

 17                    MR. ROGERS:      So I've done a number of them

 18     as well, and to the extent, you know, you want to go

 19     into questioning, linking it to a category, I mean,

 20     that's fine.     But this is going to require me to object

 21     on the basis that this is outside the scope of a

 22     particular category, not knowing which category you're

 23     referencing in this.       I mean, I'm happy to do that, but

 24     it just -- it doesn't seem to be the most expeditious

 25     way of handling this.


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  1                       MR. FROMMER:     All right.      Let's go off the

  2     record for a minute.

  3      (An off the record discussion was held at this time.)

  4                       MR. FROMMER:     Let's go back on the record,

  5     please.

  6     BY MR. FROMMER:

  7        Q.     So Special Agent Zellhart, I understand that the

  8     government looked at the FBI DIOG as the basis for its

  9     inventory policy when conducting inventory at U.S.

 10     Private Vaults.

 11               My question is, who created the supplemental

 12     instructions on the box inventory?

 13        A.     I did.

 14        Q.     Okay.     You did.

 15               And when you created those, did you create those

 16     instructions especially, or particularly for executing

 17     the U.S. Private Vaults seizure warrant?

 18        A.     Yes.

 19        Q.     Okay.     And did you design the supplemental

 20     instructions to track the inventory policy that's listed

 21     in the DIOG?

 22        A.     So I don't want to give the wrong impression,

 23     here.     I didn't have the DIOG in my hand, looking at it,

 24     while I was creating the supplemental instructions, but

 25     I understood the policy and I wrote the supplemental


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                                  #:5482


                                                                         Page 16

  1     instructions for the team to follow based on that we

  2     were doing an inventory search.

  3        Q.    Okay.   So the DIOG is sort of the general policy,

  4     and it sounds like the supplemental instructions were

  5     sort of the operative policy, the policy that was in

  6     place on the ground and that the agents who were doing

  7     the inventorying, they were supposed to follow that.                       Is

  8     that fair to say?

  9        A.    Correct.     The DIOG is a reference, it's a

 10     resource.    It's like a dictionary or a thesaurus.                   We

 11     don't -- you know, we don't walk around with it in our

 12     hands.    But the supplemental instructions were created

 13     to help the team focus in on what we were doing and how

 14     we were doing it.

 15        Q.    Okay.

 16        A.    And the supplemental instructions comply with

 17     the -- I mean, they do comply with the DIOG.

 18        Q.    Okay.   I see.

 19              And -- so, again, let me just -- I know I asked

 20     this a bit before, when you were here in your personal

 21     capacity.    I want to ask it now that you're here as a

 22     30(b)(6) representative.          What are the -- what are the

 23     permissible purposes for an inventorying?                Is it --

 24     well, if you could just identify those for me.

 25        A.    So the -- when you're doing the inventory, it's


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                                                                        Page 17

  1     for several reasons.       One, you're protecting the

  2     property for the other person, keeping it safe, you're

  3     protecting the agents from accusations of theft or

  4     damage, and you're protecting the agents, and whoever

  5     else, from the possibility that you might run into

  6     hazardous materials, such as -- such as weapons or, you

  7     know, unexploded hand grenades or Fentanyl or anthrax or

  8     whatever.     So you're -- so it's a protective prong.

  9        Q.   Okay.     So here the purposes were to protect the

 10     safety of the officers and to protect against

 11     accusations of lost or misplaced property.                I assume

 12     it's also, another purpose was to try to identify the

 13     owners of the property.

 14        A.   I mean, that's not specifically -- so that was

 15     specifically contemplated in this case because we

 16     understood that the whole point of the business was

 17     anonymity.      So anonymity was -- was the thing they

 18     advertised.      So we understood going in that we may be

 19     running into a situation where we may or may not know

 20     who the box holder is, and we were going to need to

 21     figure that out in order to return their property to

 22     them.

 23        Q.   Okay.     And also, the purpose of the inventory

 24     search here was, in part, to gather evidence regarding

 25     the condition of currency and cash and other property


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  1     found in the boxes; is that correct?

  2        A.     That is a -- like, observations about it are sort

  3     of separate.       That gets into, like, what agents are

  4     seeing in plain view.          That's not the purpose of it.

  5     The purpose of it is the three things that I said, but

  6     we're not required to ignore what we see.

  7               So, for example, when we see currency with dye

  8     pack on it, which we did see, or we see it's not

  9     currency, it's Fentanyl, which we found, that is -- that

 10     is in plain view of what we're doing, but it's not the

 11     purpose of what we're doing.

 12        Q.     Okay.    But one purpose -- but you want -- is it

 13     true that you wanted agents to gather information

 14     concerning, for instance, whether the money smelled like

 15     drugs, or if it was banded -- packaged in an unusual

 16     manner.

 17        A.     Right.    So because of the nature of what we were

 18     doing, we did expect, based on our experience, that

 19     there was going to be cash there, and we were getting

 20     cash out of the form of cash as quickly as possible and

 21     into a banking institution.            And we understood that, and

 22     as I think I said in my -- in my last deposition, that

 23     the trust -- you don't want to have cash on hand.

 24     There's too many things that can go wrong.                  You want to

 25     get that cash into an institution.


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  1             But once that happens, it's gone.              It's gone

  2     gone.   So anything you may have observed about it is

  3     also gone.      So, again, if it has dye pack on it, if it

  4     has flakes of -- of, you know, marijuana leaf, if it

  5     smells, if it's oily, if it's wet, whatever the

  6     condition of it, it will -- you if you don't make a note

  7     about it right now, it will be gone and you won't -- you

  8     will never be able to go look at that again.

  9             So yes, we anticipated that the cash might be in

 10     some interesting conditions, and if that was the case,

 11     we asked the agents to make a note of that, please.

 12        Q.   So to the extent that cash displayed indicia that

 13     made it look like it might be criminal proceedings, you

 14     wanted to record that contemporaneously before the money

 15     went off to Loomis.

 16        A.   Correct.

 17        Q.   Okay.     Can I ask -- I know that -- do you recall

 18     when you created the supplemental instructions for box

 19     inventory, roughly?

 20        A.   Yeah, it was about ten days to two weeks prior to

 21     execution of search warrants.

 22        Q.   Okay.     So this would have been early March, 2021,

 23     then?

 24        A.   I think that's right, yes.

 25        Q.   Okay.


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  1        A.   As close as a week before, and as far as two

  2     weeks before, but right in that range.

  3        Q.   Okay.     That's fine.        I don't need a precise date,

  4     I just wanted to get a sense.

  5             Did you have anybody help you draft the

  6     supplemental instructions?

  7        A.   No.     I drafted them.        I may have gotten input

  8     from Special Agent Madison MacDonald, who was helping

  9     me, and there may have been input from my supervisor at

 10     the time, Richard Alexander.            But if -- if there was any

 11     input from either of them, it was -- I think it was

 12     minimal.      It was pretty much my document.

 13        Q.   Okay.     All right.       And so you said a couple weeks

 14     before the raid got executed -- or the seizure warrant

 15     got executed, you prepared this.

 16             And then how did the supplemental inventory -- or

 17     supplemental instructions for box inventory, how did

 18     those get disseminated to the people who were actually

 19     going to be doing the inventories?

 20        A.   So I held a meeting -- and, again, this is in the

 21     same time frame, within a week to maybe ten days prior

 22     to execution of warrants, we had a meeting with all of

 23     the agents who had volunteered to participate in box

 24     inventory.      And they came to the meeting, and they

 25     received a copy of the supplemental instructions, and we


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  1     went through them in the meeting.

  2        Q.   Okay.   And so you went through -- did -- was

  3     there any practical training, where you created, like, a

  4     box to show them how to do an inventory, or was it just

  5     walking through the instructions?

  6        A.   We just walked through the instructions.

  7        Q.   Okay.   All right.       And -- and you previously -- I

  8     just want to see if I remember this correctly.                    You

  9     previously -- you had -- had or had not conducted an

 10     inventory search previously?

 11        A.   So I don't -- so we talked about this.                I

 12     don't -- I don't specifically recall having done one.

 13        Q.   Okay.

 14        A.   And I think I told you in my early career I

 15     worked a lot of drug and drug task forces, so it's

 16     possible it came up in the context of working with local

 17     police officers, but I don't specifically recall having

 18     done one --

 19        Q.   Okay.

 20        A.   -- prior.

 21        Q.   All right.     That's fine.       I just wanted -- I

 22     couldn't remember.

 23             Let me -- I'm going to shift gears a little bit

 24     and move back to -- for the sake of Victor, we'll say

 25     this is -- where is the investigation?              And this is


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  1     about just the general investigation of U.S. Private

  2     Vaults.     I think that probably is set up in number

  3     one -- one and two of the topics.

  4               So I understand, like, that -- can you explain to

  5     me the -- with U.S. Private Vaults, originally the

  6     case -- the investigation was not against the company

  7     itself; is that correct?

  8        A.     Well, that's not quite true.            So it is and it

  9     isn't.     So many different law enforcement agencies were

 10     aware of U.S. Private Vaults, including the DEA, LAPD,

 11     L.A. Sheriff's.        I know those three for sure had an

 12     interest in what was going on at U.S. Private Vaults.

 13     And those agencies were conducting different

 14     investigations into customers at U.S. Private Vaults.

 15               So I think they were sort of using USPV as a --

 16     as an ant hill, or a honey pot, however you want to

 17     think about it.        They were -- they were finding

 18     criminals at that business.            But they were not

 19     investigating the business.

 20               That project, having been unsuccessful throughout

 21     law enforcement, in about 2019, DEA, U.S. Postal

 22     Inspector, and FBI kind of got together and said:

 23     That's not working.         What we need to do is we need to

 24     figure out how we can take out the criminal facilitator,

 25     which is U.S. Private Vaults itself, the business.


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  1             And so from 2019 forward, which is when I became

  2     involved in the investigation, the -- the investigation

  3     was into the corporation.         It was into the company

  4     itself, the business.

  5        Q.   Okay.   So prior to -- I think I had heard 2018

  6     before, but okay.      So prior to that, there had been

  7     investigations into box renters, and it was around this

  8     2018-2019 framework where you, the DEA, USPIS, other

  9     groups came together and said we need to investigate the

 10     company, because they're the ones who are facilitating

 11     all of this activity.

 12        A.   Correct.

 13        Q.   Okay.   And at that point were you the lead

 14     person -- were you point person on the investigation at

 15     that point?

 16        A.   I became the FBI point person in about April of

 17     2019.

 18        Q.   Okay.   And what does that mean, to become the

 19     point person?

 20        A.   I became the case agent at that point.

 21        Q.   And so you're the person at the FBI who's chiefly

 22     responsible for investigating U.S. Private Vaults?

 23        A.   Yes.

 24        Q.   Okay.   And you were working that along with

 25     Special Agent MacDonald?


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  1        A.    She didn't really join the investigation until --

  2     until, really, right before we were getting ready to --

  3     to execute warrants.         So she kind of came in because I

  4     needed help, like in getting this organized and -- and

  5     getting the warrants ready to go and executed.                   So she

  6     was actually not part of -- not part of the

  7     investigation.

  8        Q.    So when would you say that she got looped into

  9     the investigation, then?

 10        A.    Probably around January of 2021.              Maybe December

 11     of 2020.

 12        Q.    Okay.    So fairly late in the process.

 13        A.    Yeah.    Yes.

 14        Q.    Okay.    So back in 2019, then, were there other

 15     FBI agents who were working with you on the

 16     investigation, or were you the -- really, the sole

 17     person on it?

 18        A.    No, it was just me.          With DEA and Postal.             But I

 19     was --

 20        Q.    Okay.

 21        A.    -- the only FBI investigator in the investigative

 22     phase.

 23        Q.    All right.      And you were investigating in order

 24     to determine, like -- well, I believe before you said

 25     you have a specialty in money laundering; right?                       Is


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  1     that correct?

  2           A.     Correct.

  3           Q.     And so was part of your investigation to

  4     determine -- or to investigate to see if you could find

  5     violations of structuring laws, other -- or other money

  6     laundering laws?

  7           A.     Yeah.   We -- we did feel that there was money

  8     laundering going on, yes.

  9           Q.     Now, did the different agencies sort of

 10     specialized as to what they would investigate?                      And by

 11     that I mean did you have a different investigatory focus

 12     than the DEA, for instance, or USPIS?

 13           A.     I would say no, we investigated together.                    But

 14     there's certainly things that they're better at than --

 15     than -- there's certain things DEA is better at than FBI

 16     is.        So to the extent where we did controlled drug buys,

 17     which we did a number of in this case, DEA is certainly

 18     the better agency to handle that.                 They do it all the

 19     time.        They're very, very good at it.             To the extent we

 20     were looking at sort of bank documents and a little bit

 21     of follow the money, you know, FBI is a little bit

 22     better at that.

 23                  It just -- it -- but everybody was looking at the

 24     company.        Everybody was looking at -- and it didn't

 25     matter.        If we never found money laundering, then we


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  1     never would have found money laundering.               We weren't

  2     targeting the fence, we were looking at the criminal

  3     activity of the corporation, of the company.                And its

  4     principals, frankly.

  5        Q.   I get that.

  6             And so -- so we're talking -- and then you sort

  7     of take the reins on the FBI side around, I think you

  8     said roughly April 2019, and you're working in

  9     conjunction with DEA, USPIS.          Were there other agencies

 10     involved in the investigation at that point?

 11        A.   So yes and no.       I mean, those are the three

 12     federal agencies.      We used local agencies, local police

 13     agencies for different things.           So, for example,

 14     sometimes Beverly Hills Police Department assisted us

 15     with -- with different things.           I think I mentioned that

 16     the El Monte Police Department is in a task force with

 17     the DEA folks.     So they were out with us on different

 18     portions of the investigation.           I believe LAPD assisted

 19     us at one juncture.

 20             So we would get the assistance of local police

 21     agencies.    That's pretty common.          I mean, that's --

 22     that's -- federal works that way a lot, you know, just

 23     using the manpower of -- of local forces.               So -- but I

 24     wouldn't I wouldn't necessarily say they were -- they

 25     were part of the investigation.           With the exception,


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  1     probably, of El Monte Police Department, because they

  2     are attached with DEA.           For example, one of their

  3     agents -- or one of their officers was an undercover.

  4     So was --

  5        Q.     Wow.

  6        A.     -- was actively involved in the investigation.

  7        Q.     Okay.     So --

  8        A.     But as a task force officer.            So if that makes --

  9     it's distinction to me.

 10        Q.     Yeah.     I -- I -- I understand that.            And, you

 11     know, we might explore that a little bit more, because

 12     that is a little -- either with you or with someone

 13     else, because that is a little confusing.

 14               So can you tell me -- you get in, you're --

 15     you're the point person beginning April of 2019.                       And so

 16     how long are you, DEA, USPIS, how long are you

 17     investigating Private Vaults for?

 18                       MR. ROGERS:     Let me just assert an

 19     objection.        These questions that go back to 2019 do not

 20     appear to relate to any of the topics in the 30(b)(6)

 21     notice.     Topic number one deals with all planning by the

 22     government to apply for a warrant to authorize the

 23     seizure of nests.           I don't think that back in 2019 they

 24     were -- with respect to the investigation of USPV,

 25     engaged in planning to apply for a warrant.


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  1                     MR. FROMMER:       Well, that's exactly where I

  2     was about to go, is I was going to ask her about when

  3     they began talking about applying for the warrant.                     So

  4     that was what my question was leading up to.

  5     BY MR. FROMMER:

  6        Q.   So Special Agent Zellhart, can you tell me, how

  7     long did you -- did you and the other agencies

  8     investigate before you started to come together and say

  9     we should start moving towards an indictment and

 10     applying for a search -- search and seizure warrants.

 11        A.   Uh-huh.      So that happened in about the summer of

 12     2020.   About the summer of 2020, June, July, in that

 13     phase, we started talking about -- at that point we had

 14     quite a lot of pretty good evidence, and then we started

 15     talking about moving this into indictments and warrants.

 16        Q.   Okay.     And that's what I -- yeah, started talking

 17     about moving to indictments.

 18             And who's -- who were the people involved in

 19     those conversations?

 20        A.   AUSA Andrew Brown, myself, DEA Special Agent

 21     Justin Carlson, and U.S. Postal Inspector Lyndon

 22     Versoza.

 23        Q.   Okay.     So Versoza was in on those summer of 2020

 24     meetings.

 25        A.   I believe so.        And --


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                                                                        Page 29

  1        Q.   Okay.

  2        A.   -- if I can add real quick, because that was

  3     during COVID, all those meetings pretty much took place

  4     over the phone.

  5        Q.   Yeah.

  6        A.   And it's a little more difficult to remember who

  7     was there because we were not physically in a room

  8     together, we were holding these meetings over a phone.

  9     We weren't even doing them virtually, we were basically

 10     in a phone call-in line.         So it's a little bit difficult

 11     to remember.

 12             But basically the three of us were the case

 13     agents, and Andrew Brown was the AUSA, and that was

 14     the -- that's the -- that's the decision making

 15     committee.

 16        Q.   Okay.   And so the decision making committee

 17     starts convening in summer of 2020.             Do you remember how

 18     many times you all spoke about how to -- about moving

 19     towards indictments and executing warrants?

 20        A.   I don't.     I don't remember.         You know, a couple

 21     times at least.      Two, three times at least.            But it had

 22     been decided that I was going to write -- I was going to

 23     do the writing.      So I was going to be in charge of

 24     drafting the affidavit, and that I would be working

 25     directly with Andrew Brown.


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  1        Q.   Okay.   All right.       And was -- was Jessie Murray

  2     in on those summer of 2020 calls?

  3        A.   I don't -- I don't think so.            Not -- not

  4     anything -- not any of the calls where we would have

  5     been discussing the -- the warrants and the indictments.

  6     I -- I don't remember when she got in on calls.

  7        Q.   Okay.   All right.

  8             And at those meetings when you were discussing,

  9     okay, it's time to move for indictments, it's time to

 10     move for search and seizure warrants, I think we had

 11     talked about this previously, but what was the team's

 12     purpose for acquiring a seizure warrant for the items at

 13     U.S. Private Vaults?

 14        A.   So our objective was to basically dismantle U.S.

 15     Private Vaults as a business, as a -- basically what we

 16     considered a criminal facilitator.             So our job was to

 17     remove from them whatever business tools they had that

 18     made their business go.         So we -- we chose to seize the

 19     items that they needed in order to make their business,

 20     their business.

 21        Q.   Okay.   And so you -- so the -- the team's goal

 22     was to bring U.S. Private Vaults' ability to act as a

 23     criminal facilitator to an end; is that right?

 24        A.   Correct.

 25        Q.   Okay.   Now, we did talk about this as well, but


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  1     one alternative, which we had discussed, to the seizure

  2     warrant and taking the nest of safe deposit boxes was

  3     either appointing a receiver to run the business or

  4     having the FBI run the business itself.              And you

  5     previously testified that ultimately that was a decision

  6     that the team decided not to pursue; is that correct?

  7                    MR. ROGERS:      Objection, assumes facts not in

  8     evidence.     But go ahead.

  9                    THE WITNESS:      I don't -- I mean, I know I

 10     had trouble answering this the last time.               We didn't --

 11     I'm not familiar with that process.             I've never known it

 12     to be done.     I don't think you can characterize this as

 13     having decided not to do it, because I don't think it's,

 14     like -- I don't think we considered it.              I don't think

 15     it was feasible.      Like, FBI doesn't run businesses.              We

 16     don't, like, take over businesses and run them.                 I'm not

 17     familiar with that ever happening.             I wouldn't know how

 18     to do it.     I wouldn't know who to ask how to do it.

 19     I've never seen it done.

 20                    So that -- that wasn't -- like, a

 21     receivership is sort of a legal concept I'm not even

 22     that familiar with.       So that -- I, I don't even know if

 23     you can characterize us as having chosen to not do that,

 24     because I don't think we considered it.

 25


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                                                                        Page 32

  1     BY MR. FROMMER:

  2        Q.   Oh, okay.     Because I thought you had previously

  3     testified that you -- the team had considered whether to

  4     appoint a receiver.       It was that --

  5        A.   We never had that discussion.            I don't think

  6     there was ever a discussion about a receiver.

  7        Q.   Okay.   All right.

  8             So was there any -- was there ever -- did anyone

  9     in the team ever think that there should be -- that the

 10     team should undertake some alternative other than

 11     seizing the nest of safe deposit boxes?

 12        A.   To us, seizing the nest of safe deposit boxes was

 13     the thing that made U.S. Private Vaults go.                So that was

 14     part of taking their business out.             That, the eye

 15     scanners, the money counter, that was what made their

 16     business go.    So, I mean, there's lots of discussions

 17     that we had, and I can't, you know, I can't recall every

 18     part of every discussion, but taking the nest of safe

 19     deposit boxes was, I think, always part of the idea.

 20        Q.   Okay.   And I know we talked about this

 21     previously, but was it during those same conversations

 22     that you had with team members in the summer of 2020

 23     that the topic of using -- potentially using civil

 24     forfeiture against some or all of the contents of the

 25     safe deposit boxes, did that -- were those -- let me


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                                                                          Page 33

  1     restate.     That was a horrible question.

  2              Did you have conversations in summer of 2020

  3     about the potential use of civil forfeiture against some

  4     or all of the property found in box renters' safe

  5     deposit boxes?

  6        A.    So --

  7                      MR. ROGERS:      I just want to object that the

  8     use of the term "civil forfeiture" is vague and

  9     ambiguous.       There's administrative and judicial.                  But,

 10     yeah, you can answer.

 11                      THE WITNESS:      I don't know exactly when

 12     those -- we had those discussions.               They would have been

 13     later.     And they would not -- so -- so, I mean, one

 14     thing that I can clarify for you is that as -- I guess

 15     as the team members, myself and Agent Carlson and

 16     Inspector Versoza, would not have been talking about

 17     that, because, I think as I explained to you, as

 18     investigators, our knowledge of asset forfeiture is just

 19     to identify it.        Our whole job is to just say, hey,

 20     looks like we might have a situation here, we might have

 21     proceeds of a crime.         I better get the asset forfeiture

 22     guys involved.       And then that's it.

 23                      So there would be no discussions among --

 24     among us as investigators.            Discussions did happen, and

 25     they happened later, and they would have always included


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                                                                        Page 34

  1     members of the United States Attorney's Office, because

  2     that's where we would have needed to go with it.                     So --

  3     so I don't know exactly when.           I'm going to say later,

  4     like maybe late summer -- if your question is when -- of

  5     2020, or maybe in the fall there.            And I don't exactly

  6     remember.

  7     BY MR. FROMMER:

  8        Q.   So is it -- so I just want to make sure I

  9     understand, because this is -- before we had used the

 10     term "summer of 2020," and that could be a broad term

 11     that spans several months, so it might be the -- did the

 12     team that we -- did the team that we previously were

 13     talking about, the Brown, Carlson, Zellhart, Versoza

 14     team, when you were talking in that June, July time

 15     frame, were there discussions about the potential use of

 16     administrative or judicial forfeiture against some of

 17     the property located in the boxes?

 18                     MR. ROGERS:     I want to object and -- I want

 19     to object and caution the witness.             You can testify to

 20     any discussions where no attorneys were present.                     To the

 21     extent there were any discussions where attorneys were

 22     present, those are attorney-client privileged and I am

 23     instructing you not to answer.           You can go ahead.

 24     BY MR. FROMMER:

 25        Q.   Yeah.     I mean, the -- I --


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                                                                           Page 35

  1           A.   The answer is no.        The answer to the question is

  2     no.

  3           Q.   What?

  4           A.   We were just -- with Andrew Brown, and -- and

  5     Carlson and Versoza and myself in those summer of 2020

  6     discussions, the answer is no, we were not discussing

  7     asset forfeiture.

  8           Q.   Okay.     So the four of you were not discussing

  9     asset forfeiture back then.             When did you start

 10     discussing asset forfeiture?

 11                        MR. ROGERS:     Same objection.        To the extent

 12     these discussions -- there was an attorney present

 13     during these discussions, I object on attorney-client

 14     privilege grounds, and I instruct the witness not to

 15     answer.

 16     BY MR. FROMMER:

 17           Q.   Special Agent Zellhart, I'm asking when did --

 18     when did you discuss -- when did you, personally,

 19     discuss the use of civil forfeiture, whether

 20     administrative forfeiture or judicial forfeiture, as to

 21     some or all of the property that was located in the safe

 22     deposit boxes at U.S. Private Vaults?

 23                        MR. ROGERS:     I'm asserting the same

 24     objection.         Again, to make clear, if there was an

 25     attorney present during the discussion, Ms. Zellhart,


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                                                                        Page 36

  1     that you had, then I instruct you not to answer.

  2                    MR. FROMMER:      And asking when she spoke

  3     about this.     I'm not asking who she spoke to it about --

  4     or with, and I'm not asking for the contents of any of

  5     that communication.       None of this is a-c privileged.

  6                    MR. ROGERS:      Same objection.        Same

  7     instruction.

  8     BY MR. FROMMER:

  9        Q.   Special Agent Zellhart, when did you talk about

 10     civil forfeiture with the -- with regards to U.S.

 11     Private Vaults?

 12                    MR. ROGERS:      Same objections, same

 13     instruction.

 14                    MR. FROMMER:      I -- I mean, Victor, we can go

 15     to the judge about this if we have to, but the mere --

 16     the mere presence of an attorney, the mere identity of

 17     conversations, whether they existed or not, that

 18     didn't -- that -- you can't instruct a witness not to

 19     answer because she might have had a conversation with an

 20     attorney when I'm not asking who she had it with and I'm

 21     not asking what she -- what anyone said.

 22                    MR. ROGERS:      How about this question:

 23     Ms. Zellhart, did you have any communications outside

 24     the presence of an AUSA in which civil forfeiture,

 25     administrative or judicial, was discussed relative to


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  1     USPV?    How about getting an answer to that first.

  2                      MR. FROMMER:     Sure.

  3     BY MR. FROMMER:

  4        Q.    Did you have conversations with non-attorneys

  5     about the use of civil forfeiture at U.S. Private --

  6     with regards to the -- some of the property at U.S.

  7     Private Vaults?

  8        A.    No.     I mean, the conference calls we had, there

  9     were attorneys present.

 10        Q.    So you did have conversations, there were just

 11     attorneys present.        Thank you.      I mean, you previously

 12     testified as to your conversations on this specific

 13     topic.

 14              Did the topic of civil forfeiture come up in the

 15     context of applying for a seizure warrant for the nest?

 16        A.    No.

 17        Q.    When did the United States begin planning for the

 18     use of civil forfeiture, whether administrative or

 19     judicial forfeiture, against some or all of the property

 20     that was located at U.S. Private Vaults?

 21        A.    And so I'm -- I'm giving you my best estimate

 22     here, that it would have been late summer or fall of

 23     2020.

 24        Q.    Okay.     So late summer or fall of 2020 is -- okay.

 25              And when did you begin the actual process of


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                                                                        Page 38

  1     applying for the seizure warrant, do you recall?

  2        A.   So applying for -- you know, we started drafting

  3     the -- we started drafting the affidavit in summer of

  4     2020.   And, as you see, it's a hundred-page document,

  5     with quite a lot of investigation.             And, in fact, the

  6     investigation wasn't even complete when we started

  7     drafting it.    There were still -- there was -- different

  8     things happened after that.          So it was a process.

  9        Q.   Okay.   So it was a -- so you began the process of

 10     applying for a warrant in summer of 2020, and it

 11     continued all the way until -- well, you actually

 12     applied for the warrants in 2021?

 13        A.   I mean, that's not really -- that's not how I

 14     would characterize it.        Applying for the warrant happens

 15     in, like, a day, or a week, or whatever.

 16        Q.   That's fair.

 17        A.   The United States Attorney's Office puts it all

 18     together, and they get their cover sheets and they make

 19     the right number of copies, and that process probably

 20     took place the same week that the warrant was obtained.

 21     But I'm -- but the process of drafting the affidavit

 22     took place over many months.

 23        Q.   And you -- when the team, the original

 24     investigative team decided to seize the nest, had you

 25     started drafting that affidavit yet?


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  1        A.    I'm not really sure.

  2        Q.    Okay.     Do you -- so was the decision that we

  3     should -- was the decision by the team that we should

  4     seize the nest of safe deposit boxes, that happened in

  5     summer of 2020; is that accurate?

  6        A.    I think that's probably right.

  7        Q.    Okay.     And -- give me just a second.

  8              And it was -- so I'm assuming at that point, once

  9     you -- once the team decided to seize the nest of safe

 10     deposit boxes, that it realized that it would have to do

 11     an inventory of the contents of those boxes; is that

 12     right?

 13        A.    Yes.

 14        Q.    Okay.     So in summer of 2020, the investigative

 15     team realized:       We're going to seize the nest, we're

 16     going to have to do an inventory of all of the contents.

 17        A.    Correct.

 18        Q.    Okay.

 19                      MR. FROMMER:     All right.      Well, let's --

 20     let's take a short break.          Let's take, like, ten

 21     minutes, if that works.

 22                      MR. ROGERS:     Sure.

 23                      MR. FROMMER:     Okay.    All right.

 24                (A short break was taken at this time.)

 25                      MR. FROMMER:     Back on the record.          Thank


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                                                                        Page 40

  1     you.

  2     BY MR. FROMMER:

  3        Q.   So I believe right before the break you testified

  4     that the United States had been considering -- began

  5     considering a potential use of civil forfeiture as to

  6     some or all of the safe deposit boxes in -- sometime in

  7     the late summer of 2020.         Is that accurate?

  8        A.   I think I -- I think I said that we discussed,

  9     you know, seizing the nest of the boxes and doing an

 10     inventory on them in summer of 2020.             And then

 11     discussions about asset forfeiture took place a little

 12     bit later in the summer or fall.

 13        Q.   Okay.    Yeah, that's -- sorry.          I should have been

 14     more specific.

 15             In the late summer or fall of 2020 is when the

 16     United States began considering the potential use of

 17     civil forfeiture as to the nest of safe deposit boxes.

 18        A.   I think that's right, yes.

 19        Q.   Okay.    And can you describe what steps, once that

 20     decision had been made in late fall -- or late summer,

 21     fall of 2020, to potentially use civil forfeiture

 22     against the safe -- some of the safe deposit boxes.

 23     Can you describe what steps the United States took to

 24     facilitate the potential use of civil forfeiture as to

 25     that property?


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  1                     MR. ROGERS:       Objection, outside the scope of

  2     the topics.

  3     BY MR. FROMMER:

  4        Q.   You can answer.

  5        A.   So at that point in the -- better recollection, I

  6     do think it was fall.          It might even have been

  7     September, October.         I'm kind of vaguely thinking

  8     October.

  9             We -- every -- we didn't know who -- we didn't

 10     know what agency was going to take the lead at this

 11     point, or if all agencies were going to be

 12     participating.       So all of the agencies got their asset

 13     forfeiture people looped in.

 14             So in terms of what steps did we take, we

 15     contacted our asset forfeiture people.                So on my end, I

 16     contacted -- I forget which guy.              It was not Jessie

 17     Murray, but it was one of the other, like, asset

 18     forfeiture people that I had worked with before, and

 19     looped him in.       And DEA did the same on their side.               And

 20     I'm not sure if Postal did as well.

 21             But -- but basically we got -- we got our -- our

 22     asset forfeiture people together.              And then also with

 23     the, you know, people at the U.S. Attorney's Office who

 24     do that as well.        So we basically looped in all of the

 25     people who would probably need to know about this.


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  1        Q.   And was the purpose for looping all of these

  2     people together so that you made sure to gather the

  3     information that you would need in the event you wanted

  4     to bring forfeiture proceedings against some or all of

  5     the property?

  6                   MR. ROGERS:       Objection, beyond the scope of

  7     the topic, vague and ambiguous relative to "forfeiture

  8     proceedings."

  9                   THE WITNESS:       Yeah, so -- so as I've said,

 10     from an agent's point of view, this isn't -- this

 11     isn't -- like, what we know is -- we know we might have

 12     a forfeiture situation, and you go get the people who

 13     know about that and who -- it's a specialty.                Right?

 14     Asset forfeiture is a specialty, and, like, you -- so --

 15     so what we did was we got the people in our agencies who

 16     do that involved.

 17                   And they -- they will tell you, you know,

 18     they'd rather be involved sooner than later.                They do

 19     get aggravated when you don't let them know and they

 20     don't have a chance to either help you, or prepare, or

 21     smooth the way, or whatever it is they do.                They like to

 22     know sooner than later, so that's what we did.                 We

 23     looped in our -- our specialists with regard to asset

 24     forfeiture.

 25


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                                                                        Page 43

  1     BY MR. FROMMER:

  2        Q.   Okay.     And this was, again, in, like, the fall of

  3     2020 time frame?

  4        A.   I think that's correct, yes.

  5        Q.   Okay.     And, again, this was -- it sounds like

  6     they wanted to be in early so that they made sure that

  7     you -- that the investigators did all the things that

  8     would be necessary such that, you know, a forfeiture

  9     proceeding wouldn't -- that they decided to undertake

 10     wouldn't somehow flounder?

 11        A.   Right.     I think that's --

 12                     MR. ROGERS:     I'm --

 13                     THE WITNESS:     -- right.

 14                     MR. ROGERS:     I'm -- sorry.

 15                     Objection, vague and ambiguous.            Outside the

 16     scope of the topics.

 17     BY MR. FROMMER:

 18        Q.   And just to remind me, when did the United States

 19     apply for the search and seizure warrants?

 20        A.   That would have been March, I want to say 17th.

 21     16th or 17th of 2021.

 22        Q.   Okay.     So the application for the search and

 23     seizure warrants for U.S. Private Vaults was roughly a

 24     week before the execution of those warrants.

 25        A.   Correct.


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                                                                        Page 44

  1        Q.   And -- but you and the other -- but the United

  2     States was already -- had spent several months already,

  3     prior to the execution of the warrant, planning how to

  4     execute that warrant; is that correct?

  5        A.   That's correct.

  6        Q.   Okay.     So do you remember when Jessie Murray --

  7     did Jessie Murray ever get looped in about the execution

  8     of the warrants -- of the seizure warrant at U.S.

  9     Private Vaults?

 10        A.   Yes, but I don't know when.

 11        Q.   You don't know when precisely?             Okay.

 12             Let me ask -- I do have a question -- let me

 13     introduce -- this has been previously introduced in

 14     another deposition, so give me just one moment, please.

 15                  (Exhibit 10 was previously marked.)

 16     BY MR. FROMMER:

 17        Q.   All right.     You should be able to see that.               This

 18     is -- it's supposed to be Exhibit 10, but it's actually

 19     listed as Exhibit 14 because I messed it up, But we'll

 20     muddle through that the best we can.

 21             So it should be listed -- in the folder it should

 22     be listed as Exhibit 14, and it's a document called

 23     "Agent's Observations and Notes."

 24        A.   Uh-huh.     Yes.

 25        Q.   Okay.     You have that?


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                                                                          Page 45

  1        A.     Yes.

  2        Q.     All right.      I just had some --

  3                       MR. ROGERS:     I'm sorry.      I -- I'm sorry.      I

  4     don't.     What folder is in?           Is it in the deposition

  5     folder?

  6                       MR. FROMMER:     Yes.     It's under -- it's in

  7     the marked exhibits, deposition of Lynne Zellhart 6/30.

  8                       MR. ROGERS:     Oh.     Hold on just a second.

  9                       Okay.   Go ahead.

 10     BY MR. FROMMER:

 11        Q.     All right.      And this is -- this was previously

 12     introduced as a exhibit to the deposition of Lyndon

 13     Versoza.     I just had a -- some basic questions about

 14     this form.

 15               Who drafted the Agent's Observations and Notes

 16     page that inventorying agents used?

 17        A.     It probably was me.

 18        Q.     Okay.     So was this -- was this a form that you

 19     created for the purposes of the USPV inventorying?

 20        A.     Yes.

 21        Q.     Okay.     All right.     So it has different areas

 22     about observing cash, and K-9, and also the possible

 23     identifying information for the -- and was it -- was the

 24     purpose of this just to acquire information about

 25     ownership and the state of the property?


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  1        A.    The purpose of this was to help write the 302,

  2     which captures that information as well.                So, you know,

  3     one of the things that -- that we try to do in the 302

  4     is, you know, capture whatever else.              The 302 is

  5     everything about the inventory search, and then it's

  6     the:    And whatever else.

  7              And so this was designed to help the agents write

  8     the 302s.      And we understood that there were going to be

  9     hundreds and hundreds of 302s written, and that we were

 10     going to need -- you know, we were going to need some --

 11     some cues to go by.

 12        Q.    Okay.    Did the asset forfeiture people who you

 13     looped in in the fall of 2020, were they the ones who

 14     suggested that -- the observations about cash and the

 15     K-9, that those be included in the observation --

 16     observation and notes form?

 17        A.    No.

 18        Q.    So who -- whose idea was it to include entries

 19     about cash observations and K-9s?

 20        A.    Mine and the case agents.           I mean, mine in

 21     conjunction with Carlson and Versoza.               I mean, this is

 22     what we would have wanted to know.

 23        Q.    Okay.    And is that because this is information

 24     that would be potentially -- potentially be used in

 25     civil forfeiture proceedings?


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                                                                         Page 47

  1           A.   Well, again, with the cash, so the cash is
  2     disappearing and it's never coming back again, so
  3     whatever observations you have about it, you need to
  4     make them now.         So that was -- that -- that was
  5     important.
  6                We knew, from our investigation, that we were
  7     likely to find drugs and drug proceeds.                     And so things
  8     like -- you know, some of the things listed here, the
  9     odor of marijuana, soil, gasoline, coffee, that's --
 10     that's frequently found in drug proceeds.                      So those are
 11     just the kinds of things we were looking for.
 12                I know I briefed the idea of dye pack.                      In fact,
 13     like I said, we did find cash with exploded dye pack on
 14     it.
 15                So with the cash, it was like we have to capture
 16     this information now, because it's gone.                     Once it's
 17     gone, it's gone, and that's it.
 18           Q.   Okay.
 19           A.   Go ahead.
 20           Q.   Oh, no.     I'm sorry.
 21                So the idea is that we have this -- we have the
 22     cash in front of us now.              If we don't capture this
 23     information about the cash, it will be -- that
 24     information will be lost forever; is that fair --
 25           A.   Correct.

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                                  #:5514


                                                                        Page 48

  1        Q.   -- to say?

  2        A.   Correct.

  3        Q.   And, therefore, we wouldn't have this information

  4     available for any subsequent legal proceeding that we

  5     might want to introduce that.

  6        A.   Correct.

  7        Q.   Okay.

  8        A.   Yes.

  9        Q.   Makes sense.

 10                     MR. FROMMER:     All right.      Let me take

 11     just -- I'm sorry about this.            Let me take a quick

 12     five-minute break, and then we'll come back.                Okay?

 13                     THE WITNESS:     Sure.

 14              (A short break was taken at this time.)

 15                     MR. FROMMER:     Let's go back on the record,

 16     then.

 17     BY MR. FROMMER:

 18        Q.   All right.     Special Agent Zellhart, I want to --

 19     I want to go to the day of the execution of the seizure

 20     warrant in March of 2021.         And my understanding is that

 21     FBI agents were meant -- were to inventory the contents

 22     of safe deposit boxes pursuant to the DIOG and your

 23     supplemental instructions; is that correct?

 24        A.   Correct.

 25        Q.   And did the United States have the position that


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  1     agents, when inventorying safe deposit boxes, should

  2     make a comprehensive accounting of all the items that

  3     were located within that box?

  4                   MR. ROGERS:       Objection, vague and ambiguous.

  5                   THE WITNESS:       So the process -- the -- the

  6     process for processing the contents of boxes is not

  7     different if it's an inventory search or if it's a

  8     search pursuant to a search warrant, or if it's a

  9     consent search.      The -- the so-called, you know, what we

 10     call a "bag and tag," that process is -- is the same.

 11     So we have certain protocols that we follow.                We have to

 12     have a chain of custody, we have to have an evidence

 13     log, we have to have labels on each item, we have to

 14     have an FD-597, which is a receipt of property, and we

 15     have to write a 302.

 16                   In addition to that, you know, our evidence

 17     technicians generate both a 1-B number, which is for

 18     identification purposes, and a separate bar code for

 19     identification purposes, all of which happens -- in

 20     addition to, you know, the way we package things depends

 21     on whether it's valuables, or if it's drugs, or if it's

 22     a weapon, or if it's digital evidence, or if it's just

 23     general evidence.      And all of those procedures are

 24     followed regardless of -- of whether the search is

 25     coming from an inventory or it's coming from some other


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  1     place.     And all of those -- all of those policies were

  2     followed.

  3     BY MR. FROMMER:

  4        Q.    Okay.     So the approach that the agents took in

  5     conducting the inventory is essentially the same, you're

  6     saying, as -- the same approach they would take if they

  7     were conducting, like, a criminal search, or a criminal

  8     seizure.     A seizure pursuant to a criminal warrant.

  9                      MR. ROGERS:      Objection, mischaracterizes the

 10     testimony, it calls for a legal conclusion, overbroad.

 11                      THE WITNESS:      Yeah.    So the -- the bag --

 12     the so-called bag and tag procedures are substantially

 13     the same, yes.

 14     BY MR. FROMMER:

 15        Q.    Okay.     All right.      So the -- the mechanics by

 16     which the agents seize the items and list the contents

 17     of the -- the items that they're seizing on the forms,

 18     that is the largely the same, regardless of whether it's

 19     for the purpose of an inventory or pursuant to, like, a

 20     criminal seizure warrant?

 21                      MR. ROGERS:      Overbroad.      Same objections.

 22                      THE WITNESS:      Correct.

 23     BY MR. FROMMER:

 24        Q.    Okay.     But it's not the policy of the United

 25     States to have the inventorying agents provide a


                                     Exhibit M
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  1     complete list of all items seized; is that correct?                   And

  2     by that I mean if I had 50 gold coins, the agents would

  3     not necessarily record that I have 50 gold coins, they

  4     might simply say that I had miscellaneous gold coins; is

  5     that correct?

  6        A.    That's correct.        And they might also call them

  7     gold-colored coins, or yellow-colored coins, because

  8     they wouldn't necessarily assume that they were gold, as

  9     opposed to something else.           But -- but, yes.

 10              The -- the idea is that for each particular item

 11     number in a container, whether it's a bag or a box or

 12     whatever we're containing it in, is enough description

 13     so that you know from that place, or in this case from

 14     that specific box, this item number contains papers, not

 15     jewelry or watches or phones.            So it's enough of a

 16     description so that you could find that item number and

 17     line it up with the actual property, but not an

 18     exhaustive list.

 19        Q.    Okay.     And is that -- the reason there isn't an

 20     exhaustive list, is that just -- is that a manpower

 21     issue?

 22                      MR. ROGERS:     Objection, calls for a legal

 23     conclusion, overbroad.

 24                      THE WITNESS:     So it -- it -- I mean, I don't

 25     know how to actually answer that.             If you -- the goal --


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                                                                         Page 52

  1     the goal is to identify the contents of the item number.

  2     And a number of other things, too.              Where it came from.

  3     You know, there's other information on each -- each

  4     label.    It gets an item number, it gets the case number,

  5     it gets the date, it gets the location.

  6                    I mean, and with U.S. Private Vaults, we

  7     were treating each box as a -- like a separate location.

  8     And I briefed that in my briefing.              Like, you should

  9     treat this box like it's -- it's an apartment unit.                   It

 10     is a separate thing.        It is like a -- each one is a

 11     separate inventory process.           And so within that, you are

 12     identifying the property.          So that you can --

 13     BY MR. FROMMER:

 14        Q.    I see.

 15        A.    -- find it again.

 16        Q.    So if you had, let's say, some gold-colored coins

 17     and some silver-colored coins in a box, would the

 18     agents -- would the U.S. policy then be that the agent

 19     should denote how many of each color there are, or would

 20     they simply say:       Miscellaneous coins?

 21                    MR. ROGERS:       Objection, overbroad, poses an

 22     incomplete hypothetical, calls for a legal conclusion.

 23                    THE WITNESS:       I don't think there's a policy

 24     on it.    I think that it's very likely going to be

 25     described as miscellaneous coins.             Or box of coins.


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                                                                        Page 53

  1     BY MR. FROMMER:

  2        Q.   Okay.    So -- and you didn't have anything in the

  3     supplemental instructions -- the United States didn't

  4     have anything in the supplemental instructions advising

  5     inventorying agents about how to do those kinds of

  6     counts; is that correct?

  7        A.   That's correct.

  8        Q.   Okay.

  9        A.   It was not addressed.

 10        Q.   Let me -- I have a -- and -- sorry.               I just want

 11     to...

 12             And then once the items are bagged and tagged, as

 13     you put it, what additional steps did the United States

 14     undertake to ensure that the property wouldn't get

 15     misplaced?

 16        A.   Right.    So each item received both a bar code

 17     from our evidence techs, which then gets recorded into

 18     our system, and also a 1-B number, which is just an

 19     identification number.        It's a redundancy.          There are

 20     two separate ways of tracking the same -- the same item.

 21     But -- and there's actually probably three ways of doing

 22     it, because you could actually just go to the -- the

 23     paperwork and the item numbers.           But the redundancies

 24     are built in so that if one fails, if the bar code falls

 25     off, the sticker falls off, you can just track it a


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  1     different way.           So -- so those are -- so those things

  2     are generated for each item number, and then put inside

  3     our -- our evidence system so that they can be tracked.

  4           Q.     Okay.     And is that evidence system, is that

  5     Sentinel?

  6           A.     It's a part of Sentinel.

  7           Q.     Okay.     Can I ask, did the United States have a

  8     policy of wiping cash that it found in safe deposit

  9     boxes on the outside of the bags that were going to be

 10     transported to Loomis?

 11                          MR. ROGERS:     Objection, poses an incomplete

 12     hypothetical, calls for a legal conclusion.

 13                          THE WITNESS:     That was not a policy.

 14     BY MR. FROMMER:

 15           Q.     What was it?

 16           A.     So the K-9 handlers preferred that the bags of

 17     cash be open so that the K-9 could -- could sniff it

 18     better.        And for safety and security purposes, I said

 19     no.        The bags of cash are not leaving unsealed.                They

 20     will not go anywhere outside this room unsealed.                          And so

 21     the compromise was to rub the cash on the outside of the

 22     bag so that the K-9 could still detect scent without the

 23     bag having to leave the premises open.

 24           Q.     And whose -- who came up with that compromise

 25     position?


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  1        A.   I'm not sure.

  2        Q.   Okay.     That's fine.

  3             Did you ever hear anyone discuss the safe deposit

  4     boxes being -- describing them as, like, clean or dirty?

  5        A.   No.

  6        Q.   Never heard anyone just say that that looks like

  7     a clean box, I think that's a dirty box?

  8        A.   No.

  9        Q.   Okay.     Before -- before the execution of the

 10     seizure warrant, did -- did any of the United States

 11     agents discuss using what they -- what might be found in

 12     the safe deposit boxes to conduct further investigations

 13     of box holders?

 14                     MR. ROGERS:     Objection, vague and ambiguous

 15     with respect to the use of the word "investigations."

 16                     THE WITNESS:     So I know that we contemplated

 17     the idea that we would find contraband in some of the

 18     USPV boxes, and that -- I mean, I don't think we

 19     discussed it as such, but I'm sure we understood that if

 20     we found contraband in a box, that that would lead to

 21     additional investigation.

 22     BY MR. FROMMER:

 23        Q.   Okay.     But do you recall any agent ever stating

 24     that, you know, depending on what's inside the box, we

 25     might want to investigate the box holders more?


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                                  #:5522


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  1                     MR. ROGERS:       Same objection.

  2                     THE WITNESS:       I mean, I don't know that

  3     anybody said that, but I think that's true.

  4     BY MR. FROMMER:

  5        Q.   Okay.

  6        A.   Depending on what was in a box.               I mean,

  7     obviously we found Fentanyl in a box.                Well, we

  8     conducted additional investigation into whose box that

  9     was and how the Fentanyl got there, and a whole bunch of

 10     other things.       So -- so, yeah.        And we contemplated that

 11     we would find drugs in these boxes.

 12        Q.   Okay.     And so the thought of the -- of the United

 13     States and its agents was that to the extent we find

 14     inculpatory items in a box, that might cause us to

 15     investigate the box holder.            Is that accurate?

 16                     MR. ROGERS:       Same objection.

 17                     THE WITNESS:       Yes.    Yes, I think that's

 18     accurate.

 19                     MR. FROMMER:       Let me -- I'm going to move a

 20     little bit forward in time.            Let me introduce another

 21     exhibit.     Give me just a second, here.

 22                     Sorry, just one second.           Technology is...

 23                  (Exhibit 8 was previously marked.)

 24     BY MR. FROMMER:

 25        Q.   All right.       This was previously Exhibit 8 in your


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  1     May deposition.        So please let me know when that is up

  2     for you.

  3        A.   Yes, I have this.

  4        Q.   When did the United States come up -- decide to

  5     post a claim form for those box holders whose property

  6     had been seized?

  7        A.   So I'm not exactly sure when, but in the planning

  8     phases in, you know, in early 2021, we knew we had to

  9     come up with some kind of a system for -- for people to

 10     reach out to us to get their property back.                  And the

 11     L.A. office being what it is, and the size and

 12     everything, that, you know, doing a phone -- having

 13     our -- our phone personnel do that was not going to

 14     work.

 15             And so we -- we came up with this idea, well,

 16     let's post something and have them reach out to us over,

 17     like, an email or a website type of thing where we can

 18     collect the information.

 19        Q.   Okay.     And when you're saying "we," who -- who

 20     are the -- who are the U.S. officials who are involved

 21     in -- in this decision to create a claim form?

 22        A.   So Special Agent Madison MacDonald and I probably

 23     would have had the original discussions, probably with

 24     our supervisor at the time, Richard Alexander, in terms

 25     of what -- what do we want to do, how do we do this.


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  1             There's -- there's two -- there were two paths to

  2     it in terms of who all was involved.               So one side of it

  3     was technical, in terms of how can we do this

  4     technologically, IT.         We had to reach out to our IT

  5     guys.

  6             So by "we," I think I'm basically talking SA

  7     MacDonald and myself.          I don't know who else besides us

  8     would have even been involved in this.

  9             But -- but we reached out to Dave Bigelow, who's

 10     the IT guy at the FBI in Los Angeles, and told him what

 11     we were -- what we were thinking to do.                And then he

 12     contacted IT people at FBI headquarters, because we

 13     were -- we were going to be using a .FBIgov site, so

 14     that had to go through headquarters.               All of this had to

 15     go through headquarters.

 16             And then separately, you know, we went with --

 17     with the content.        Like what do -- what information do

 18     we want.     How is this going to look.

 19        Q.   Is there some content, or some information that

 20     officials considered including on this claim form but

 21     ultimately chose not to include?

 22        A.   Yes.

 23        Q.   Like what?

 24        A.   So I wanted, in addition to name, address, and

 25     phone number, I wanted some personal identifiers so that


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  1     I could tell the difference between a John Williams and

  2     a John Williams, or a Juan Rivera and a Juan Rivera.

  3     This comes up a lot in Los Angeles.               It's a huge place,

  4     and there's people with a lot of the same name.

  5               So I wanted personal identifiers, I wanted box

  6     number, I wanted some description of a box content, and

  7     also who else had access to the box, because I had a

  8     tremendous concern of having more than one party

  9     interested, or, you know, ex-spouses, all kinds of

 10     things.     So that was -- that was what I had

 11     contemplated.

 12        Q.     I do recall you previously mentioning the utility

 13     of having a box number on the form, but yet -- why --

 14     why -- why is there no box number that ultimately was

 15     put on the claim form?

 16        A.     Right.     So I think I drafted something, or SA

 17     MacDonald did, one of us drafted something that went

 18     probably to our supervisor, Richard Alexander, and then

 19     to Laura Eimiller, who is our -- our media liaison.

 20     She's our face to the public.             She elevated it to FBI

 21     headquarters, Office of Public Affairs, to a woman named

 22                          , whose title I don't know.            But she's in

 23     the Office of Public Affairs.

 24               She told                        that her conversations

 25     with FBI civil rights and privacy, we can't ask for


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  1     anything but name, address, and phone number, and I

  2     think an email address.         That we -- we could only ask

  3     for those things, we couldn't ask for anything else.                 We

  4     could not ask for box number.           And that was pushed down

  5     to us from headquarters, and -- and then that was it.

  6        Q.   Okay.   So the -- the contours of the claim form,

  7     then, are -- are a product of negotiations, both at the

  8     L.A. field office and also at FBI headquarters?

  9        A.   I wouldn't call it a negotiation.

 10        Q.   Oh, okay.     More of -- okay.

 11             Is -- the claim form -- was -- was altered based

 12     on the opinions of the FBI main office in D.C.

 13        A.   Yeah.   And they were firm.          You can't do it.

 14     This is all you can ask for, period.

 15        Q.   Oh, okay.     And when they came back to the L.A.

 16     field office and said this is all you can have, nothing

 17     else, what was the reaction amongst the officials who

 18     were helping put this together?

 19        A.   I -- you know, I don't know.            So this was

 20     happening within days of execution of the warrant, and

 21     it was -- I had a hundred other things that needed

 22     attention sooner.      By the time I got -- it got to me,

 23     there was -- I didn't have any reaction.               There was

 24     nothing I can do about it.          My job has many aspects like

 25     that.   There was nothing -- there was nothing to be


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  1     done.   It is what it is.        Deal with it.

  2             If I had known a month earlier, you know, I

  3     probably, may well have come up with some totally

  4     different way of doing this.          Because as it was, the

  5     form was of extremely limited use to me.               But -- but,

  6     you know, by the time we got down -- got that word, it

  7     was -- like, we kind of had already going down this path

  8     and we were, like:       Okay.    Well, this is what -- this is

  9     what we can do, so we'll just do it.             We'll just make

 10     the best of it.

 11        Q.   So were you in the middle of executing the

 12     seizure warrant when all this -- all this back and forth

 13     about the claim form was happening?

 14        A.   Or it was getting very -- very close.               Within

 15     days.   So it might have been a few days before.                And

 16     then I know that it got -- the system got put up and

 17     tested, I think, Wednesday the 24th, or possibly

 18     Thursday the 25th.       So we were still in the middle of --

 19     of executing the seizure warrants when the -- when the

 20     web -- or the email site went active.              So there was a

 21     lot of back and forth in that time frame when I -- when

 22     I had quite a lot on my plate.

 23        Q.   I can imagine.

 24             You said a second ago -- and I'm paraphrasing

 25     here, so pardon my exact words.           But you said you found


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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 63 of 110 Page ID
                                  #:5528


                                                                          Page 62

  1     the -- the form ultimately to be of limited utility.

  2     And I was wondering if you could explain why -- why the

  3     form ended up being of limited utility to the -- to the

  4     United States.

  5        A.     Because it -- well, sometimes -- sometimes it was

  6     helpful.     Sometimes we'd have a name and we already had

  7     that name and we could match it up.               We could match up

  8     the box right away.         But a lot of the times we just --

  9     we had to get on the phone and contact the person and --

 10     and find out what their box number is.                To get to the

 11     next step of anything, you need the box number.

 12               And so that put us where I didn't want us to be,

 13     which is having to have, like, individual phone calls

 14     with all of these folks, you know, at a -- at a time

 15     when there's so much else going on.               So I -- I wish we

 16     could have solicited the box number.

 17        Q.     Did it slow down returning boxes to the rightful

 18     owners?

 19        A.     Yeah.     I mean -- yes.

 20        Q.     Okay.

 21        A.     Eventually we got organized on it, but it -- it

 22     slowed -- it stalled it out a little bit.

 23        Q.     How long would you say it stalled things out for?

 24                       MR. ROGERS:     Objection --

 25                       THE WITNESS:     It's hard to say --


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                                  #:5529


                                                                        Page 63

  1                   MR. ROGERS:       Objection, overbroad, poses an

  2     incomplete hypothetical.

  3                   THE WITNESS:       Yeah.    It was -- it was a

  4     really busy -- those first weeks after execution of the

  5     warrants were very, very busy.           It's hard to put a

  6     number on it.     But -- but having to go through that

  7     extra step of reaching out and contacting people.                    And a

  8     lot of times they weren't home and, you know, now you're

  9     playing phone tag, and you're having a person have to do

 10     this.   Like, I'm losing, you know, personnel hours on

 11     this.   It just was not very efficient.             I would have

 12     preferred a process that was more efficient.

 13     BY MR. FROMMER:

 14        Q.   I can understand that.

 15             So let me make sure I understand.              So when --

 16     when the team sent the proposed claim form to the FBI

 17     main office, it contained things like box number and

 18     other personal identifying information; is that correct?

 19        A.   I think so.      And my hesitation is that it went up

 20     a chain of command.       So I would have sent it to my

 21     supervisor, who sent it to                           , I think who

 22     sent it to headquarters.         But I don't know that, because

 23     I only sent it to my supervisor.

 24        Q.   All right.     And you said, I believe, that you

 25     worked on this primarily with Special Agent MacDonald;


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                                                                        Page 64

  1     is that right?

  2        A.   Correct.

  3        Q.   And I'm assuming that you also worked a bit with

  4     Andrew Brown on this?        I'm not asking about what he said

  5     or anything, I'm just asking, did you work with him on

  6     this?

  7        A.   I don't think he had any input on the claim form.

  8        Q.   Okay.    That's fine.

  9             And do you know, did the United States ever use

 10     any of the information that was provided -- that box

 11     owners provided through the claim form?              Did the United

 12     States ever use that to investigate the box holder to

 13     see if maybe the -- maybe what was in the box is

 14     criminal proceeds?

 15        A.   So that's a little hard to answer without --

 16     because not everybody used this system.              Not by a long

 17     shot.   So without the list in front of me of -- of who

 18     used the claim form, I'm not sure I can -- can answer

 19     that.

 20        Q.   Well, are you aware of any instances where United

 21     States officials took information off of a claim form

 22     and said, "I'm going to look this person up.                I'm going

 23     to do some investigation to see who this person is"?

 24        A.   So it wouldn't be because they put a claim in, it

 25     would have to do with the contents of the box.                 So if


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  1     there was something about the box that suggested further

  2     investigation was needed, then -- then that, married up

  3     to the information on the claim form, may have resulted

  4     in further -- further, like, database checks and that

  5     type of thing.

  6        Q.     Okay.     So if you run into, let's say, a box with,

  7     I don't know, $100,000 in there, and the money stinks

  8     and it's wrapped funny and the dog alerts, and then

  9     someone sends in a claim form for that, you're going to

 10     do some investigation to see who this person is; is that

 11     right?

 12        A.     Yes.     Yes.

 13        Q.     And so then you can determine whether the

 14     property is legitimately owned or not; is that right?

 15        A.     Or -- and also if it's legitimately theirs.                  But

 16     yes.     All of those things, yes.          We learned just because

 17     somebody claimed a box doesn't mean it was theirs.

 18        Q.     Oh, did that happen?

 19        A.     Uh-huh.     Yes.

 20        Q.     Are you guys prosecuting that person who tried to

 21     file for an inappropriate form?             Or --

 22                       MR. ROGERS:     I'm sorry.      I have to object

 23     and instruct --

 24                       MR. FROMMER:     Okay.    That's fine.        That's

 25     fine.     I was just more -- I'm more interested than


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                                                                        Page 66

  1     anything else.

  2                     MR. ROGERS:     That's what I thought.

  3                     MR. FROMMER:     Yeah.     Yeah, it's not germane

  4     to my case.

  5                     Man, some people got some -- anyway.

  6                     All right.     Let me take, like, five minutes.

  7     I think we're getting kind of close to being done, but

  8     let me confer with people.          And I'll be back in, like,

  9     five -- five or six minutes.

 10                     MR. ROGERS:     Okay.

 11              (A short break was taken at this time.)

 12     BY MR. FROMMER:

 13        Q.   Okay.     I wanted to talk just a little bit,

 14     Special Agent Zellhart, about the process of returning

 15     property, which we were talking about a little bit

 16     before our most recent break.            And I had a question

 17     about -- is it the case that when -- when people would

 18     come to collect their property, the government would

 19     typically require that person to bring one or more keys

 20     to the pertinent safe deposit box; is that correct?

 21        A.   Yes.     That was one of the things.           There were a

 22     number of things that we used to try to verify that we

 23     had, in fact, the correct owner, and both -- one or both

 24     keys was -- was one of them, yes.

 25        Q.   Were there instances -- were there -- and, in


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                                                                         Page 67

  1     fact, there were instances when property was returned to

  2     a lawyer who presented a key on behalf of his client; is

  3     that correct?

  4        A.    So yes, but not in the beginning.              I think that's

  5     something that kind of came about later after much time

  6     had passed, and under -- under various circumstances.

  7     But, yes, that has happened, but it didn't happen up

  8     front in the first, probably, six months of box returns.

  9        Q.    Well, what were the circumstances that led to

 10     that change in policy?

 11        A.    It wasn't a policy change.

 12        Q.    Well, let me restate.

 13              For the first few months it sounds like if a

 14     lawyer showed up with a key they said was from their

 15     client, the government wouldn't release the property,

 16     and then you're saying after a few months that shifted

 17     such that they would release -- the government would

 18     release the property, and I'm just wondering what

 19     precipitated the change.

 20        A.    The -- okay, so that's not --

 21                    MR. ROGERS:       I -- I just want -- okay.            Go

 22     ahead.

 23                    MR. FROMMER:       I'm sorry.

 24                    MR. ROGERS:       Objection, overbroad, vague and

 25     ambiguous with respect to the use of the word "client."


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                                                                        Page 68

  1     Go ahead.

  2                   THE WITNESS:       Okay.    So I guess it kind of

  3     mischaracterizes the -- the sort of process of box

  4     returns, which -- which has, I guess, evolved, for a

  5     number of reasons.

  6                   So the -- all of the initial box returns

  7     were returned, you know, based on the contents.                  These

  8     contents -- the -- there's nothing that suggests this is

  9     proceeds of a crime, give it back.             And then it was a

 10     matter of identifying the correct person.               Either

 11     through indicia that they left in the box, the USPV

 12     paperwork, or a copy, photocopy of a driver's license,

 13     or -- or whatever.

 14                   Attorneys -- and even with that, for extra

 15     security for us, we asked people to bring a key, because

 16     a key is just -- that's just one more thing.                We were

 17     trying to have as many things as we can to satisfy

 18     ourselves that we are, in fact, giving the property to

 19     the correct person.

 20                   Later in time, property which -- where the

 21     person was -- was not identified, we -- we have an

 22     unidentified person represented by counsel, but where

 23     the U.S. Attorney's Office has declined to pursue the

 24     contents of the box in any kind of forfeiture manner,

 25     and then we are told to return it.             And then this puts


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  1     us in a bit of -- even though I was told to return it,

  2     it still puts us into a situation where I need to make

  3     sure that I'm returning it to the correct party.

  4                   And so we would, in fact, return it to an

  5     attorney, and we worked out what we would -- we asked

  6     for, for example, something from that attorney showing

  7     that they actually represented the party.               Even if it

  8     was still a John Doe party, something from an attorney

  9     saying yes, I represent the -- the box holder, the

 10     person whose stuff this is.          And then also keys.             Two

 11     keys, of course, are better than one, because our fear

 12     on this is that we have two parties competing for an

 13     interest in the box.

 14                   It's been a very -- and, again, if I can add

 15     one other thing, is that we're now 15 months past the

 16     execution of warrants.        I am not getting new people

 17     coming forward -- extremely rarely.             I'm not expecting a

 18     lot of new people to pop out.           But that was not the case

 19     in the first six to eight months.            I really was less

 20     willing to do something because I didn't know if I had

 21     competing parties.

 22                   So that's a roundabout way of trying to

 23     explain the -- the return process.             We tried to be as --

 24     as fair as we could, but also protecting ourselves

 25     against the possibility of competing claims.


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                                                                        Page 70

  1     BY MR. FROMMER:

  2        Q.   Okay.    That makes sense.        And I -- so it sounds

  3     like having two keys would be sort of the gold standard,

  4     because it shows that you have the key to the -- that

  5     fits this box, and there's no other person who has a

  6     similar key.     Is that fair?

  7        A.   And something from the attorney saying that they

  8     in fact represent this person.

  9        Q.   Okay.    And you said that that shifted -- the

 10     anonymous attorney situation started coming up a few

 11     months afterward, after the execution of the seizure

 12     warrant; is that correct?

 13        A.   Yeah.    Yes.    I would say it was not in the first

 14     wave -- the first wave of returns -- the first wave, I

 15     think of it, probably the first two waves, was, like,

 16     the easy ones.     Like, let's get these people their stuff

 17     back.   Like, there's no -- there's no chance that this

 18     is contraband, we know who they are, because they left

 19     indicia, we know how to contact them.              To me, that's

 20     first wave.     The first -- give them their -- get all

 21     these people their stuff back first.             And then we

 22     will -- then we'll go to second wave, which may present

 23     a few more challenges, and then kind of on from there.

 24        Q.   Okay.    That makes sense to me.

 25             So -- well, let's say -- let's say I had a box


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  1     there.     Okay?    And I didn't have any ID in the box, but

  2     I come -- I come forward and I say:               Hi, I'm Robert

  3     Frommer.     I rented a box at U.S. Private Vaults.                    It's

  4     this box number.        Here's my key.

  5        A.     Uh-huh.

  6        Q.     Like, would that be good enough to get my

  7     property back?

  8                     MR. ROGERS:       Objection, poses an incomplete

  9     hypothetical.

 10                     THE WITNESS:       So there's other things we --

 11     we could ask.       Like, can you describe -- can you

 12     describe the contents.          Can you describe what was in the

 13     box.     Can you tell us where at USPV it was.               And we've

 14     showed people maps.         We had a detailed sketch of the

 15     entire interior of the vault, and we have had people say

 16     it was on this wall, or it was, you know, the third from

 17     the bottom, or, you know, like -- we want as much as we

 18     can.     So I don't -- like, there's no -- there's no rules

 19     here, there's nothing written down.               It's -- it's a

 20     totality of circumstances of we need to be satisfied

 21     that we're giving the property back to the correct

 22     person.

 23     BY MR. FROMMER:

 24        Q.     I see.    So with everything single box you had to

 25     convince yourselves, really, that this is the right


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  1     person for the right box.

  2        A.    That's correct.

  3        Q.    And it sounds like that was a rather arduous

  4     process.

  5        A.    Once in awhile it was tricky, but -- but the vast

  6     majority of them we had pretty good -- we had some

  7     indicia.     There was -- so most of the time it was not

  8     tricky, but sometimes it was.

  9        Q.    Just as an aside, approximately how many boxes

 10     have been -- the property of how many boxes has been

 11     returned, as of this point?            Roughly.      I'm not asking --

 12        A.    Yeah.    No, I think it's around four -- 430, I

 13     think.

 14        Q.    Okay.    So a little over half, if that's -- my

 15     numbers are -- if my understanding is correct.

 16        A.    Yeah, I guess that's -- well, so there's a

 17     different -- there's other categories.                Like, some

 18     people waived their property.             There's good number of

 19     people who just said:          I don't want it.        So --

 20        Q.    How many of those are there?             Roughly, again.

 21        A.    I think there was 20 or 30 of those.

 22        Q.    Okay.

 23        A.    They just don't want it, don't want anything.                 To

 24     take it, get rid of it, whatever.

 25              Yes.    I -- so, yes.        The answer's yes.


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  1        Q.    Okay.     And so would the -- the anonymous

  2     attorneys who would show up with a key and a letter,

  3     would you accept -- was it that the key and letter were

  4     acceptable once the United States had determined it

  5     wasn't going to engage in any form of forfeiture

  6     proceedings against the property?

  7                      MR. ROGERS:     I just want to object, beyond

  8     the scope of the class.          Go ahead.

  9                      THE WITNESS:     Yes.    I think that's -- that's

 10     generally true, yes.

 11     BY MR. FROMMER:

 12        Q.    Okay.     So prior -- so does that mean, then, that

 13     prior to the time the United States had to make a

 14     determination about whether to move forward with

 15     forfeiture proceedings to any given property, would it

 16     refuse to return property to an -- an attorney with a

 17     key and a letter on behalf of an anonymous client?

 18                      MR. ROGERS:     Objection, incomplete

 19     hypothetical, calls for a legal conclusion.

 20                      THE WITNESS:     So I don't want to say that it

 21     never happened, because I don't know that without

 22     checking, but I'm going to say that I would not have

 23     liked it.    Like, I -- I would have tried to put that

 24     off.    I would have tried to say we need more

 25     information, we need something to confirm this.                  But I'm


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  1     not going to say it never happened because without

  2     checking, you know, in -- in, you know, whatever time

  3     frame we're talking about, I can't say with a hundred

  4     percent certainty that it never happened.

  5                     But I would not have wanted that to happen.

  6     Again, because of competing claims.             We were still

  7     getting people coming out all over the place, and I

  8     would have had some heartburn about that.

  9     BY MR. FROMMER:

 10        Q.   Okay.     So prior to the -- prior to forfeiture

 11     determination being made on the property, you would be

 12     very -- you, the United States, would have been very

 13     reluctant to return property to an anonymous box holder

 14     via their attorney.

 15        A.   I feel --

 16                     MR. ROGERS:     Same -- same objections,

 17     outside the scope of the class.           Go ahead.

 18                     THE WITNESS:     I still don't love it.              Right?

 19     I -- I still have this fear that another attorney is

 20     going to show up who represents the ex-wife, or

 21     whatever.     Or the feuding brother, the other twin.                  So

 22     I -- I still don't like it.          But the fact of the matter

 23     is, particularly as time passes, we need to get the

 24     property returned.       So -- so you have to do what you

 25     have to do.


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  1     BY MR. FROMMER:

  2        Q.     Yeah.     No, I understand that.         And I -- well, and

  3     you've returned -- you've returned, it sounds like,

  4     hundreds of -- of boxes worth of property at this point.

  5               I was wondering, were there any instances

  6     where -- well, were there any instances where you

  7     accidentally returned the wrong property to the wrong

  8     person?     Not you personally, but where the United States

  9     inadvertently gave -- you know, box A to person B.

 10        A.     I'm not aware of that.

 11        Q.     Okay.     Let me jump back a little bit to the -- to

 12     the actual execution of the seizure warrant and some of

 13     the mechanics around the inventorying process.                   And I

 14     understand the -- the 302 to be the sort of

 15     all-encompassing form, the form of the overall

 16     encounter.        And for -- my question is:          Should there be

 17     a 302 form associated with every box that was

 18     inventoried at U.S. Private Vaults?

 19        A.     Yes.

 20        Q.     Okay.     There should be -- so there should be one

 21     for each -- so each box would have its own separate 302.

 22        A.     Yes.

 23        Q.     Okay.

 24        A.     Yes.

 25        Q.     And I also -- I think we talked about this


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  1     beforehand, the last time we spoke, but I just wanted to

  2     confirm, just from the United States, that it's the

  3     understanding of the United States that every box

  4     inventoried, that inventorying process was captured

  5     either by photographs or via video recording.

  6        A.   Yes, with a very, very few exceptions.                I think

  7     there might be fewer than five that, for some reason,

  8     didn't have either.       Or the photos didn't -- something

  9     happened.      There's -- there's probably about five that

 10     have neither.      Everything else was captured either by

 11     videotape or photograph.

 12        Q.   Do you know, like, why those, in those five

 13     instances it didn't happen?

 14        A.   I don't.

 15        Q.   Okay.     How many boxes altogether were

 16     inventoried?      Roughly.    I'm not -- I'm not holding you

 17     to a number.

 18        A.   So -- so about 700 were inventoried, and about

 19     700 were empty.      So -- so we -- they -- so they were

 20     taken -- they were taken, but there's nothing in --

 21     there's no contents to them.

 22        Q.   Oh, okay.     Oh, so there were a total of, roughly,

 23     1,400 safe deposit boxes in the nest?

 24        A.   Yes.

 25        Q.   And about half of them were -- had something in


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                                                                             Page 77

  1     them?

  2           A.     Yes.

  3           Q.     Oh, okay.     Did not know that.

  4                         MR. FROMMER:      All right.      Give me, like,

  5     give me five minutes.             I think we're about done, but

  6     I'll be able to let you know on the back side of this.

  7                   (A short break was taken at this time.)

  8                         MR. FROMMER:      Back on the record.

  9     BY MR. FROMMER:

 10           Q.     All right.     Thank you, Special Agent Zellhart.                  I

 11     think I only have a couple more questions, or lines of

 12     questions.

 13                  But I wanted to ask you, I know U.S. Private

 14     Vaults obviously was a secure -- it was supposed to be a

 15     secure business, and -- it was a vault, after all.                        And

 16     as part of that, the facility had a system of security

 17     cameras up to monitor ongoings.                And I wanted to ask,

 18     where is that footage from the day of the raid?

 19           A.     I don't know.      I don't have it.         I've never seen

 20     it.        I don't have any information about that at all.

 21           Q.     The government took over the -- the facility

 22     early on on the -- the day of the execution of the

 23     seizure warrant; right?

 24           A.     Correct.

 25           Q.     And did it ever gain access to the security


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  1     camera feed?

  2        A.   No.    Not as far as I know.

  3        Q.   Did you -- did the United States -- was the

  4     United States concerned about someone being able to have

  5     remote access to be able to see them over the security

  6     camera footage?

  7        A.   I think we covered the camera lenses, or took the

  8     camera lenses -- the cameras out.            I think our team did

  9     that.   But the -- the security company, I think, was

 10     remote, and I don't -- I don't have any information

 11     about it.

 12        Q.   Oh, so you think that the day of the -- the day

 13     the warrant was, the seizure warrant was executed, that

 14     agents removed the security cameras that were inside

 15     U.S. Private Vaults?

 16        A.   Or covered them.

 17        Q.   Or covered them.        Okay.

 18             So it's your understanding that there were --

 19     agents, the day of the raid, either covered or removed

 20     the security cameras over at U.S. Private Vaults.

 21        A.   That would be our standard practice if we can't

 22     get to, you know, the -- sort of the brains of it, which

 23     I don't know where they were.           And I also didn't do

 24     that.   I wasn't a part of the -- the team that executed

 25     the search warrant of the office space.              But I'm just


                                   Exhibit M
                                   9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 80 of 110 Page ID
                                  #:5545


                                                                        Page 79

  1     telling, our standard practice would be to cover the

  2     cameras or to remove them if we can.

  3        Q.   Okay.     All right.     And who was in charge of the

  4     search warrant, was that Ryan Heaton?

  5        A.   Yes.     But I think the SWAT team breached.                 Well,

  6     we didn't breach because we had a key.

  7        Q.   Yeah.     My understanding is that George came down.

  8        A.   George came down and let us in, but I'm not sure

  9     that -- I'm not sure that Ryan Heaton's team -- I guess

 10     where I'm going with this, so you get the right people,

 11     I'm not sure Ryan Heaton's team were the first ones to

 12     sweep through and clear.         So I'm not sure they would

 13     have been the ones who covered or removed the cameras.

 14        Q.   It might have been, like, a SWAT team that went

 15     in earlier, as opposed to him.

 16        A.   Correct.

 17        Q.   He might have -- his team might have gone in as

 18     part of the second wave.         I got -- I got what you mean.

 19        A.   Right.     To do the search for the documents and

 20     the other things.

 21        Q.   But sitting here as, you know, the representative

 22     of the United States, it's your understanding that, to

 23     the extent there were security cameras at U.S. Private

 24     Vaults, they would have either been removed or covered

 25     during the initial stages of executing the -- the


                                   Exhibit M
                                   9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 81 of 110 Page ID
                                  #:5546


                                                                          Page 80

  1     warrants.

  2        A.     That's our standard procedure, yes.

  3        Q.     Okay.     All right.

  4               I did have a question about another aspect of the

  5     government's policies and procedures, and that's

  6     regarding the retention and use of records obtained.

  7               Now, specifically I'm thinking of the

  8     inventorying records, the 302, the 597s, the pictures

  9     and videos attached to that.            And I was -- wanted you to

 10     state, what's the position of the United States as to

 11     how long it can retain those records?

 12                       MR. ROGERS:     I just want to object to the

 13     extent it calls for a legal conclusion, but she can

 14     answer.

 15                       THE WITNESS:     So the -- those documents are

 16     in our interior system called Sentinel, and as far as I

 17     know, they stay in Sentinel.            And -- and the -- I mean,

 18     the only thing I know is, you know, when I get Freedom

 19     of Information Act requests to go into things, I go look

 20     for them.     So as far as I know, they just stay in

 21     Sentinel.

 22     BY MR. FROMMER:

 23        Q.     Okay.     So it's under -- your understanding, the

 24     understanding of the United States, that documents such

 25     as a 302 or a 597, or pictures that are associated with


                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 82 of 110 Page ID
                                  #:5547


                                                                           Page 81

  1     those forms, would be uploaded into Sentinel, where they

  2     would remain indefinitely; is that accurate?

  3           A.   I believe that's accurate.

  4           Q.   Okay.     And is there -- with regards -- does the

  5     United States have any limitations as to how the

  6     documents in Sentinel can be used?                And by that -- let

  7     me be a little more -- could -- can agents access

  8     documents in Sentinel for any investigative purpose?

  9           A.   Sometimes -- cases can be restricted in Sentinel

 10     for a variety of things.            There are restrictions you can

 11     tag them with.         And you can't -- you certainly can't

 12     just be, like, joyriding through Sentinel.                   You need a

 13     purpose -- you need an investigative purpose.                    So if you

 14     have an investigative purpose and you're not restricted,

 15     or there are not restrictions placed on a file, yes, you

 16     can search the information.

 17           Q.   Okay.     So so long as an agent had investigative

 18     purpose, they could search and access the file unless it

 19     had some sort of special access restriction placed upon

 20     it.

 21           A.   Correct.

 22           Q.   And a special access restriction, that -- does

 23     that happen as a general matter, or only in limited

 24     situations?

 25                        MR. ROGERS:     Objection, beyond the scope of


                                      Exhibit M
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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 83 of 110 Page ID
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                                                                         Page 82

  1     the topics, calls for a legal conclusion.

  2                      THE WITNESS:     There's different -- there's

  3     different kinds of restrictions.             And, for example,

  4     grand jury sub files are restricted to named people.                  So

  5     that's an example of you can't -- you can't look at

  6     those unless you're on a named list.

  7                      Sometimes the whole file can be restricted.

  8     It's a sensitive matter and it gets restriction placed

  9     on the whole thing.        Sometimes sections of a file will

 10     have a caveat put on it, like you can't -- you can use

 11     it for this but you can't use it for that.                 We get that

 12     with certain types of FinCEN records.               So there's a --

 13     there's a big variety of types of restrictions.

 14     BY MR. FROMMER:

 15        Q.    Okay.     So there might be -- so the documents

 16     contained in Sentinel might be restricted to some people

 17     for some purposes, but the general -- the general rule

 18     is that if an agent has an investigative purpose, they

 19     can access the documents.

 20                      MR. ROGERS:     Same objections, outside the

 21     scope of the topics, calls for a legal conclusion.

 22                      THE WITNESS:     Yeah.    And I would also limit

 23     what I'm saying to criminal -- unclassified criminal

 24     cases.    I surely can't speak to the -- the -- the

 25     classified counterintelligence, counterterrorism bucket


                                    Exhibit M
                                    9HULWH[W/HJDO6ROXWLRQV
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Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 84 of 110 Page ID
                                  #:5549


                                                                         Page 83

  1     of stuff, because I don't work that.              So I'm talking

  2     only about criminal -- unclassified criminal files, yes.

  3     BY MR. FROMMER:

  4        Q.    Let me -- well, let me make this a little more

  5     specific.       Like my clients, Paul and Jennifer Snitko.

  6     Right?    They have a file, they're a 302 and 597, other

  7     documents are in Sentinel, I presume.               Those files would

  8     be generally -- is it fair to say -- is it correct to

  9     say that those files would be generally accessible to

 10     those -- to those agents who are conducting a criminal

 11     investigation and have an investigative purpose for

 12     looking at those files?

 13        A.    Yes.

 14        Q.    Okay.     And is -- is that the -- the same would be

 15     true equally of other U.S. Private Vaults box renters

 16     whose property has been returned?

 17                      MR. ROGERS:     Objection, overbroad, calls for

 18     a legal conclusion, beyond the scope of the class.

 19                      THE WITNESS:     Yes, I guess that's generally

 20     true.

 21     BY MR. FROMMER:

 22        Q.    Okay.     Yeah, all I'm asking, really, is there's

 23     nothing special about Paul and Jennifer Snitko.                  The

 24     other class members, like-wise, could expect that their

 25     files would be accessed -- could be accessed by an agent


                                    Exhibit M
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                                                                         Page 84

  1     with a valid investigative purpose.              And I'm --

  2                      MR. ROGERS:     Same objection.

  3     BY MR. FROMMER:

  4        Q.    -- just asking, is that correct?

  5                      MR. ROGERS:     Same objections.

  6                      THE WITNESS:     Right.     And I would just add,

  7     just for clarity, that it would be the box -- it's by

  8     box.    Right?     So there -- yes, the information about

  9     that box, their box, would be -- theoretically would be

 10     accessible to somebody --

 11     BY MR. FROMMER:

 12        Q.    Okay.

 13        A.    -- who had an investigative need, yes.

 14        Q.    All right.     And I think -- and as you mentioned

 15     before, once it's on Sentinel, it generally stays on

 16     Sentinel.

 17        A.    As far as I know, yes.

 18                      MR. FROMMER:     All right.      Well, with that, I

 19     don't think I have anything else for you right now,

 20     Special Agent Zellhart.          Again, I really appreciate you

 21     coming and doing this, especially since you are sick.

 22     So -- but thank you for that.

 23                      Victor, did you have anything?

 24                      MR. ROGERS:     I do not.

 25                      MR. FROMMER:     Okay.    All right.       Well, with


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                                                                       Page 85

  1     that, then, I will release Special Agent Zellhart.                       I
  2     hope you feel better and have a -- hope you have a good
  3     Independence Day weekend.
  4                    THE WITNESS:         Thank you.        Appreciate it.
  5                           (Deposition concludes.)
  6                                         -oOo-
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  1                                      -oOo-

  2

  3                   I, LYNNE ZELLHART, hereby declare under

  4     penalty of perjury that I have read the foregoing pages

  5     4 through 85; that any changes made herein were made and

  6     initialed by me; that I have hereunto affixed my

  7     signature.

  8

  9                   Dated:     _________________________

 10

 11

 12                   ________________________________

 13                              LYNNE ZELLHART

 14

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  1                          ERRATA SHEET/CORRECTIONS
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                                                                        Page 88

  1     STATE OF NEVADA        )
                               ) ss.
  2     COUNTY OF WASHOE       )
  3
  4             I, SUSAN E. BELINGHERI, a Certified Court
  5     Reporter for the State of Nevada, do hereby certify;
  6             That on Thursday, the 30th day of June, 2022, at
  7     the hour of 9:08 a.m. of said day, at the offices of
  8     Bonanza Reporting & Videoconference Center, 1111 Forest
  9     Street, Reno, Nevada, appeared 30(b)(6) LYNNE ZELLHART
 10     via videoconference, who was duly remotely sworn by me,
 11     was thereupon deposed in the matter entitled herein, and
 12     that before the proceeding's completion the reading and
 13     signing of the deposition has been requested by the
 14     deponent or party;
 15             That the foregoing transcript, consisting of
 16     pages 1 through 88, is a full, true, and correct
 17     transcript of my stenotype notes of said deposition to
 18     the best of my knowledge, skill, and ability.
 19             I further certify that I am not an attorney or
 20     counsel for any of the parties, nor a relative or
 21     employee of any attorney or counsel connected with the
 22     action, nor financially interested in the action.
 23             DATED:     At Reno, Nevada, this 6th day of July,
 24     2022.
                         /s/ Susan Belingheri
 25                   _____________________________
                      SUSAN E. BELINGHERI, CCR #655


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             DQW               DVVHW 
                                                                            
     DJJUDYDWHG         DQWKUD[              
                                                                            
     DJR            DQWLFLSDWHG          
                                                                            
     DKHDG         DQ\ERG\         
                                                                          EDFN 
             DQ\ZD\               
                                                                            
              DSDUWPHQW          DVVLVWDQFH 
                                                                            
     DOHUWV              DSSHDU            DVVLVWDQW 
                                                                            
     DOH[DQGHU          DSSHDUDQFHV       DVVLVWHG 
                                                                            
                  DSSHDUHG       DVVRFLDWHG 
                                                                            
     DOWHUHG            DSSHDULQJ            
                                                                            
     DOWHUQDWLYH                             DVVXPH 
                                                                            
                        DSSOLFDWLRQ         
                                                                          EDFNJURXQG 
     DOWRJHWKHU         DSSOLHG           DVVXPHV 
                                                                          EDJ 
     DPELJXRXV           DSSO\          DVVXPLQJ 
                                                                            
                                  
                                                                            
                  DSSO\LQJ        DWWDFKHG 
                                                                          EDJJHG 
     DPHQGHG                  DWWHQWLRQ 
                                                                          EDJV 
                         DSSRLQW            DWWRUQH\ 
                                                                          EDQGHG 
     DPHULFD             DSSRLQWLQJ           
                                                                          EDQN 
     DQGUHZ             DSSUHFLDWH          
                                                                          EDQNLQJ 
                                     
                                                                          EDU 
                         DSSURDFK           
                                                                          EDVHG 
     DQJHOHV        DSSUR[LPDWHO\            
                                                                            
                                 DWWRUQH\ V 
                                                                          EDVLF 
                                                      

                                        Exhibit M
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1289
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                                  #:5557

    >EDVLFDOO\FKDUJH@                                                               3DJH

     EDVLFDOO\              EXUHDX          
                   EXVLQHVV            
                                       
     EDVLV                       
     EHJDQ                           
                                             FDVHV 
     EHJLQQLQJ                 EXVLQHVVHV        FDVK 
                                                     
     EHJLQV                    EXV\               
     EHKDOI                   EX\V                
                                        F              
     EHOLHYH      ER[HV                                  
                                                   F 
                                          FDWHJRULHV 
                                                   FDOLIRUQLD 
                                                  
                                                     
     EHOLQJKHUL                                       FDWHJRU\ 
                                                   FDOO 
                                            
                                                     
     EHVW                                       FDXVH 
                                                   FDOOHG 
                                           FDXWLRQ 
                                                     
     EHWWHU                                       FDYHDW 
                                                   FDOOV 
                                             FFU 
                                                     
            EUDLQV                                   FHQWHU 
                                                     
     EHYHUO\           EUHDFK                                    FHQWUDO 
                                                     
     EH\RQG        EUHDFKHG                                  FHUWDLQ 
                                                     
                 EUHDN                                    
                                                   FDPHUD 
     ELJ                                                FHUWDLQO\ 
                                                   FDPHUDV 
     ELJHORZ                                           
                                                     
     ELW                                                   FHUWDLQW\ 
                                                     
              EULHIHG                             FHUWLILHG 
                                                   FDPSEHOO 
           EULHILQJ                                  FHUWLI\ 
                                                     
            EULHIO\                                    FKDLQ 
                                                   FDSDFLW\ 
            EULQJ                               FKDOOHQJH 
                                                     
     ERQDQ]D                                           FKDOOHQJHV 
                                                   FDSWXUH 
     ERWWRP            EURDG                                    FKDQFH 
                                                     
     ERXOHYDUG          EURWKHU                                    
                                                   FDSWXUHG 
     ER[         EURZQ                                    FKDQJH 
                                                   FDSWXUHV 
                                             
                                                   FDUHHU 
                                                  FKDQJHV 
                                                   FDUOVRQ 
             EXFNHW                                   FKDUDFWHUL]H 
                                                     
          EXLOW                                      
                                                     
          EXQFK                                 FKDUJH 
                                                   FDVH 
       
                                                     

                                      Exhibit M
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1290
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                                  #:5558

    >FKHFNLQJFRUUHFW@                                                             3DJH

     FKHFNLQJ          FROOHFW    FRQFOXGHV         FRQWHPSRUDQHRX
                        FRORU            FRQFOXVLRQ         
     FKHFNV             FRORUHG              FRQWHQW 
     FKLHIO\                                 
     FKRVH       FRPH                     FRQWHQWV 
     FKRVHQ                  FRQGLWLRQ          
     FLUFXPVWDQFHV                                     
                                FRQGLWLRQV         
     FLYLO      FRPHV             FRQGXFW        
              FRPLQJ      FRQGXFWHG           
                                 FRQWH[W 
                          FRQGXFWLQJ         
                       FRPPDQG               FRQWLQXHG 
     FODLP      FRPPLWWHH                         FRQWRXUV 
                             FRQIHU            FRQWUDEDQG 
           FRPPRQ           FRQIHUHQFH          
            FRPPXQLFDWLRQ         FRQILUP          FRQWUROOHG 
                                                          FRQYHQLQJ 
     FODLPHG           FRPPXQLFDWLRQV        FRQIXVLQJ        FRQYHUVDWLRQ 
     FODLPV                        FRQMXQFWLRQ         
                        FRPSDQ\                            FRQYHUVDWLRQV
     FODULI\                    FRQQHFWHG          
     FODULW\                         FRQVHQW             
     FODVV          FRPSHWLQJ        FRQVLGHUHG         
                                FRQYLQFH 
     FODVVLILHG        FRPSOHWH                       FRSLHV 
     FOHDQ                     FRQVLGHULQJ     FRS\ 
     FOHDU        FRPSOHWHO\                            
                       FRPSOHWLRQ       FRQVLVWLQJ       FRUSRUDWLRQ 
     FOHDUO\            FRPSO\        FRQWDFW       
     FOLHQW      FRPSRXQG          FRQWDFWHG        FRUUHFW 
            FRPSUHKHQVLYH                      
     FOLHQWV                              FRQWDFWLQJ          
     FORVH        FRPSURPLVH       FRQWDLQHG          
                                                            
     FRGH        FRQFHSW          FRQWDLQHU          
                       FRQFHUQ           FRQWDLQLQJ         
     FRIIHH             FRQFHUQHG         FRQWDLQV           
     FRLQV      FRQFHUQLQJ         FRQWHPSODWHG            
                                   
                                                                     

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1291
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    >FRUUHFWGRFXPHQWV@                                                            3DJH

           FXVWRPHUV        GHSHQGLQJ          
             FY                                     
                                 G           GHSHQGV            
     FRUUHFWLRQV                              GHSRQHQW         GLIILFXOW 
                            G 
     FRUUHFWO\                                GHSRVHG            
                            GF 
     FRXQVHO                            GHSRVLW     GLJLWDO 
                            GDPDJH 
                                                GLRJ 
                            GDQJHURXV 
     FRXQWHU                                            
                            GDWDEDVH 
     FRXQWHULQWHOOLJH                                  
                            GDWH 
                                                  GLUHFWO\ 
                            GDWHG 
     FRXQWHUWHUURULVP                                        GLUHFWRU 
                            GDYH 
                                             GHSRVLWLRQ        GLUW\ 
                            GD\ 
     FRXQWV                                        GLVDSSHDULQJ 
                              
     FRXQW\                                            GLVFXVV 
                              
     FRXSOH                                     
                              
                                            GLVFXVVHG 
                            GD\V 
     FRXUVH                                            
                              
     FRXUW                                        
                            GF 
                                   GHSRVLWLRQV       GLVFXVVLQJ 
                            GHD 
     FRYHU                                                 
                              
     FRYHUHG                               GHVFULEH          GLVFXVVLRQ 
                              
                                        
                              
     FRYLG                                                       
                            GHDO 
     FUHDWH                            GHVFULEHG        GLVFXVVLRQV 
                            GHDOV 
                                             GHVFULELQJ          
                            GHFHPEHU 
     FUHDWHG                              GHVFULSWLRQ          
                            GHFLGH 
                                             
                            GHFLGHG 
                                             GHVLJQ           GLVPDQWOH 
                              
     FUHDWLQJ                                GHVLJQDWLQJ       GLVSOD\HG 
                              
     FULPH                              GHVLJQHG          GLVVHPLQDWHG
                            GHFLVLRQ 
     FULPLQDO                                GHWDLOHG           
                              
                                  GHWHFW           GLVWLQFWLRQ 
                              
                                 GHWHUPLQDWLRQ         GLVWULFW 
                            GHFODUH 
                                               GLYLVLRQ 
                            GHFOLQHG 
                                         GHWHUPLQH        GRFXPHQW 
                            GHIHQGDQWV 
     FULPLQDOV                                             
                              
     FXHV                                    GHWHUPLQHG        GRFXPHQWV 
                            GHOD\ 
     FXUUHQF\                                GLFWLRQDU\         
                            GHQRWH 
                                            GLIIHUHQFH          
                            GHSDUWPHQW 
     FXVWRG\                                 GLIIHUHQW      
                              
                                                    

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1292
Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 95 of 110 Page ID
                                  #:5560

    >GRHIG@                                                                      3DJH

     GRH               HOHYDWHG         H[DPSOH           H[WUHPHO\ 
     GRJ               HPDLO                
     GRLQJ                                      H\H 
          HPSOR\HH         H[FHSWLRQ                   I
            HPSW\            H[FHSWLRQV 
                                                                       IDFH 
           HQFRPSDVVLQJ          H[HFXWH 
                                                                       IDFLOLWDWH 
                                       H[HFXWHG 
                                                                       IDFLOLWDWLQJ 
     GRPHVWLF         HQFRXQWHU          
                                                                       IDFLOLWDWRU 
     GUDIW             HQGHG             H[HFXWLQJ 
                                                                         
     GUDIWHG     HQIRUFHPHQW         
                                                                       IDFLOLW\ 
                                      
                                                                       IDFW 
     GUDIWLQJ         HQJDJH            H[HFXWLRQ 
                                                                         
             HQJDJHG            
                                                                         
     GULYHU V         HQVXUH        
                                                                         
     GUXJ          HQWLUH        
                                                                       IDFWV 
              HQWLWOHG           
                                                                       IDLOV 
     GUXJV       HQWULHV          H[KDXVWLYH 
                                                                       IDLU 
                HTXDOO\            
                                                                         
     GXO\        HUUDWD            H[KLELW 
                                                                         
     G\H          HVSHFLDOO\         
                                                                       IDLUO\ 
                                      
                                                                       IDLWK 
               H           HVT          
                                                                       IDOO 
                           HVVHQWLDOO\         
     H                                                   
                           HVWLPDWH         H[KLELWV 
                                                          
                           HYHQW               
     HDUOLHU                                                 IDOOV 
                           HYHQWXDOO\       H[LVWHG 
     HDUO\                                                  IDPLOLDU 
                           HYHU\ERG\        H[SHFW 
                                                          
                                      H[SHFWLQJ 
     HDUQHVW                                                       IDU 
                           HYLGHQFH         H[SHGLWLRXV 
     HDV\                                                           
                                 H[SHULHQFH 
     HIILFLHQW                                                 IEL 
                                H[SODLQ 
     HLJKW                                                      
                                             
                                                               
                           HYROYHG           H[SODLQHG 
     HLPLOOHU                                                    
                           H[          H[SORGHG 
                                                                    
                           H[DFW            H[SORUH 
     HLWKHU                                                   
                           H[DFWO\     H[WHQW 
                                                         
                                  
                                                          
                           H[DPLQDWLRQ          
                                                                  IEL 
                                               
     HO                                                      IELJRY 
                           H[DPLQHG          H[WUD 
     HOHFWURQLF                                                     IG 


                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1293
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                                  #:5561

    >IHDUJR@                                                                       3DJH

     IHDU        IODNHV             IRUPDOO\         IURQW 
     IHDVLEOH          IORRU              IRUPV         
     IHGHUDO       IORXQGHU          IRUWK         IXOO 
                    IORZ               IRUZDUG             
     IHHG               IRFXV             IXQQ\ 
     IHHO         IROGHU                        IXUWKHU 
                                           IRXQG       
     IHQFH              IRONV                        J
     IHQWDQ\O      IROORZ        
                                                                         JDLQ 
                               
                                                                         JDVROLQH 
     IHXGLQJ           IROORZHG          IRXU 
                                                                         JDWKHU 
     IHZHU                           IUDPH 
                                                                           
     ILHOG           IROORZV              
                                                                         JHDUV 
     ILJXUH      IRRWDJH      IUDPHZRUN 
                                                                         JHQHUDO 
     ILOH        IRUFH        IUDQNO\ 
                                                                           
             IRUFHV      IUHHGRP 
                                                                           
                        IRUHJRLQJ          IUHTXHQWO\ 
                                                                         JHQHUDOO\ 
     ILOHV                       IULGD\ 
                                                                           
                    IRUHVW         IURPPHU 
                                                                           
     ILQDQFLDOO\       IRUHYHU             
                                                                         JHQHUDWH 
     ILQFHQ            IRUIHLWXUH           
                                                                         JHQHUDWHG 
     ILQG              
                                                                         JHRUJH 
                  
                                                                         JHUPDQH 
                      
                                                                         JHWWLQJ 
     ILQGLQJ                  
                                                                           
     ILQH                    
                                                                           
                       
                                                                         JLYH 
                       
                                                                           
                                   
                                                                           
     ILQLVK                    
                                                                           
                                            
                                                                         JLYHQ 
     ILUP           IRUJHW              
                                                                         JLYLQJ 
                       IRUP           
                                                                           
     ILUVW                
                                                                         JOHEH 
                           
                                                                         JR 
                    
                                                                           
                         
                                                                           
     ILWV                        
                                                                           
     ILYH               
                                                                           
                       
                                                                           
                                                     
                                                                           

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1294
Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 97 of 110 Page ID
                                  #:5562

    >JRLQGLFWPHQWV@                                                             3DJH

          JXHVV     KHDWRQ                      L
                KHDWRQ V       LGHD 
              JXLGH            KHOG           
           JX\                           
           JX\V        KHOS        LGHQWLILFDWLRQ
                                              
     JRDO                 K           KHOSIXO           LGHQWLILHG 
                                             KHOSLQJ       
                           K 
     JRLQJ                           KHUHXQWR          LGHQWLILHUV 
                           KDOI 
                                  KHVLWDWLRQ         
                           KDQG 
                                 KH\              LGHQWLI\ 
                             
                                   KL                  
                           KDQGOH 
                                KLOO             LGHQWLI\LQJ 
                           KDQGOHUV 
                                  KLOOV              
                           KDQGOLQJ 
                                    KROG              LGHQWLW\ 
                           KDQGV 
                                KROGHU           LJQRUH 
                           KDSSHQ 
                                       LPDJLQH 
                             
                                                  LPSRUWDQW 
                             
                                    KROGHUV         
                           KDSSHQHG 
                                                     LPSUHVVLRQ 
                             
                                KROGLQJ     LQDGYHUWHQWO\ 
                             
                                      KRPH              LQDSSURSULDWH
                             
     JROG                            KRQHVWO\            
                           KDSSHQLQJ 
                                       KRQH\            LQFOXGH 
                             
     JRRG                               KRSH              
                           KDSSHQV 
                                 KRUULEOH          LQFOXGHG 
                             
                                     KRXU            
                           KDSS\ 
     JRWKLHU                                  KRXUV            LQFOXGLQJ 
                           KDUG 
     JRWWHQ                                  KXJH                
                             
     JRYHUQPHQW                              KXK         LQFRPSOHWH 
                           KDUULVRQ 
                                          
                           KDW 
                                KXQGUHG             
                           KD]DUGRXV 
                                                  LQFXOSDWRU\ 
                             
     JRYHUQPHQW V                            KXQGUHGV        LQGHILQLWHO\ 
                           KHDG 
     JUDQG                                                     LQGHSHQGHQFH
                           KHDGTXDUWHUV
     JUHDW                             K\SRWKHWLFDO            
                             
     JUHQDGHV                                      LQGLFLD 
                             
     JURXQG                                                
                           KHDU 
     JURXQGV                                                      LQGLFWPHQW 
                           KHDUG 
     JURXSV                                                        LQGLFWPHQWV 
                           KHDUWEXUQ 
                                                                         

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1295
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                                  #:5563

    >LQGLFWPHQWVNQRZ@                                                             3DJH

                        LQWHUHVWHG                MRVHSK 
     LQGLYLGXDO                               MR\ULGLQJ 
     LQIRUPDWLRQ       LQWHUHVWLQJ       LQYHVWLJDWLRQV        MXDQ 
            LQWHULRU                MXGJH 
                                            MXGLFLDO 
            LQWHUUXSW          LQYHVWLJDWLYH           
            LQWURGXFH              MXO\ 
                             
                                    MXPS 
           LQWURGXFHG                          MXQFWXUH 
                              LQYHVWLJDWRU     MXQH 
     LQLWLDO      LQWURGXFLQJ         LQYHVWLJDWRUV           
     LQLWLDOHG          LQYHQWRULHG                MXU\ 
     LQSXW                      LQYHVWLJDWRU\         MXVWLFH 
                        LQYHQWRULHV                        MXVWLQ 
     LQVLGH       LQYHQWRU\          LQYROYHG                    N
                              
                                                                         N 
     LQVSHFWRU                 
                                                                           
                         
                                                                         NHHS 
     LQVWDQFH                 LVVXH 
                                                                         NHHSLQJ 
                                LWHP 
                                                                         NH\ 
     LQVWDQFHV                  
                                                                           
                     
                                                                           
                                         LWHPV 
                                                                         NH\V 
     LQVWLWXWH       LQYHQWRU\LQJ         
                                                                           
     LQVWLWXWLRQ                  
                                                                         NLQG 
                                 
                                                                           
     LQVWUXFW                             M             
               LQYHVWLJDWH 
                                                   MDQXDU\            
                         
                                                   MHQL               NLQGV 
     LQVWUXFWLQJ         
                                                   MHQQLIHU        
     LQVWUXFWLRQ        LQYHVWLJDWHG 
                                                                    NQHZ 
                       LQYHVWLJDWLQJ
                                                   MHVVLH        
     LQVWUXFWLRQV        
                                                                   NQRZ 
                
                                                   MHZHOU\            
          LQYHVWLJDWLRQ 
                                                   MRE          
             
                                                                      
                  
                                                   MRKQ         
     LQWHUHVW        
                                                   MRKQVRQ         
                         
                                                   MRLQ                
                              
                                                                           

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1296
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                                  #:5564

    >NQRZPHDQ@                                                                     3DJH

               ODXQGHULQJ        OLVWHG        ORWV 
                              ORYH 
           ODXUD                    O\QGRQ 
                              OLWWOH        
             ODZ              O\QQH 
                                         
           ODZV                     
                ODZ\HU                            P
                OHDG           
                                                                           PDFGRQDOG 
                              ORDGLQJ 
                                                                             
             OHDGLQJ            ORFDO 
                                                                             
              OHDI                  
                                                                           PDGLVRQ 
              OHDUQHG           ORFDWH 
                                                                             
              OHDYH             ORFDWHG 
                                                                           PDLQ 
            OHDYLQJ              
                                                                           PDMRULW\ 
            OHG                ORFDWLRQ 
                                                                           PDNLQJ 
           OHIW        ORJ 
                                                                           PDQ 
             OHJDO        ORQJ 
                                                                           PDQQHU 
                        
                                                                             
                                 
                                                                           PDQSRZHU 
     NQRZLQJ                      ORRN 
                                                                             
     NQRZOHGJH          OHJLWLPDWHO\         
                                                                           PDSV 
                                          ORRNHG 
                                                                           PDU 
     NQRZOHGJHDEOH           OHQVHV           ORRNLQJ 
                                                                           PDUFK 
                    OHWWHU           
                                                                             
     NQRZQ         OLDLVRQ              
                                                                           PDULMXDQD 
     NRRQV               OLF                ORRNV 
                                                                             
     NULVWL              OLFHQVH           ORRPLV 
                                                                           PDUNHG 
                O            OLNHG                
                                                                             
                             OLPLW             ORRSHG 
     O                                                        
                             OLPLWDWLRQV           
     OD                                                       PDUULHG 
                             OLPLWHG        
                                                                    PDWFK 
                                               ORRSLQJ 
     ODEHO                                                             PDWHULDOV 
                             OLQH          ORV 
     ODEHOV                                                           PDWWHU 
                                      
     ODSG                                                         
                                                ORVLQJ 
     ODUJH                                                              
                             OLQHV             ORVW 
     ODUJHO\                                                          PHDQ 
                             OLQNHG             ORW 
     ODWH                                                          
                             OLQNLQJ              
                                                             
                             OLVW         
                                                                     
                                       
                                                                             

                                      Exhibit M
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                          1297
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                                   #:5565

    >PHDQRIILFH@                                                                   3DJH

                PRPHQW       QHJRWLDWLRQ        QY 
               PRQH\            QHJRWLDWLRQV       QZ 
                       QHLWKHU                    R
                        QHVW 
                                                                          RDNV 
                          
                                                                          RDWK 
                  PRQLWRU            
                                                                          REMHFW 
     PHDQV                PRQWH         
                                                                            
     PHDQW              PRQWK             QHVWV 
                                                                            
     PHFKDQLFV          PRQWKV           QHYDGD 
                                                                            
                                 
                                                                          REMHFWLRQ 
     PHGLD                   QHYHU 
                                                                            
     PHGLFDWLRQV                             
                                                                            
     PHHWLQJ         PRYH          
                                                                            
                          
                                                                            
     PHHWLQJV           PRYLQJ        
                                                                            
                                   QHZ 
                                                                            
     PHJKDQ              PXGGOH           QRQ 
                                                                            
     PHPEHUV            PXOWLSOH         QRQSURILW 
                                                                            
             PXUUD\            QRUPDO 
                                                                            
     PHQWLRQHG                    QRUWK 
                                                                          REMHFWLRQV 
                                 Q            QRWDU\ 
                                                                            
     PHQWLRQLQJ                               QRWH 
                             Q                               
     PHUH                               QRWHV 
                             QDPH                               REMHFWLYH 
     PHVVHG                                
                                                           REVHUYDWLRQ 
     PHW                                       QRWLFH 
                                                                      
     PLFKDHO                                      
                             QDPHG                              REVHUYDWLRQV 
     PLGGOH                                 
                                                                        
                                           QXPEHU 
                             QDWXUH                                    
     PLQH                                    
                             QHFHVVDULO\                             REVHUYHG 
     PLQLPDO                                    
                                                                    REVHUYLQJ 
     PLQXWH                                  
                             QHFHVVDU\                                REWDLQHG 
                                                
                             QHHG                                 
     PLQXWHV                                     
                                                             REYLRXVO\ 
                                    
                                                            
     PLVFHOODQHRXV                                   
                                                          RFWREHU 
                                        
                                                          RGRU 
     PLVFKDUDFWHUL]HV                                
                                                         RIILFH 
                                          QXPEHUV 
                                                                 
     PLVSODFHG                                  
                             QHHGHG                               
                                              QXPHURXV 
                                                             
                                                                            

                                        Exhibit M
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1298
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    >RIILFHUSKDVH@                                                             3DJH

     RIILFHU                  RZQHUV          SGI 
     RIILFHUV                         SHDUVRQV 
                           RZQHUVKLS       SHQDOW\ 
     RIILFHV                        S           SHQGLQJ 
     RIILFLDO                                      SHQQV\OYDQLD 
                                                  SDFN 
     RIILFLDOV                                      SHRSOH 
                                                   
                                                
                                                  SDFNDJH 
     RK      ROG                                       
                                                  SDFNDJHG 
              RQFH                              
                                                  SDJH 
                                           
                                                   
                                                     
                                                  SDJHV 
     RLO\               RQHV                              
                                                   
     RND\                                    
                                                  SDSHUV 
                                                    
                                                  SDSHUZRUN 
              RQJRLQJV                                
                                                   
          RRR                            SHUFHQW 
                                                  SDUDJUDSK 
                                                   SHULRG 
                                                   
               RSHQ                               SHULRGLFDOO\ 
                                                  SDUDSKUDVLQJ
          RSHUDWLRQV                            SHUMXU\ 
                                                   
           RSHUDWLYH                              SHUPLVVLEOH 
                                                  SDUGRQ 
           RSLQLRQV                              SHUVRQ 
                                                  SDUW 
          RSSRVHG                                  
                                                   
                                                   
                                                   
               RUGHU                              
                                                   
                                              
                                                  SDUWLFLSDWH 
          RUJDQL]HG                                
                                                  SDUWLFLSDWLQJ
                                                       
                                                   
           RULJLQDO                                
                                                  SDUWLFXODU 
                                                      
                                                   
           RULJLQDOO\                             SHUVRQDO 
                                                  SDUWLFXODUO\ 
            RXWVLGH                                 
                                                   
                                         SHUVRQDOO\ 
                                                  SDUWLHV 
                                       
                                                   
                                                 SHUVRQQHO 
                                                  SDUW\ 
              RYHUDOO                                 
                                                   
               RYHUEURDG                             SHUWDLQ 
                                                  SDVVHG 
                                      
                                                  SDVVHV 
                                        SHUWDLQLQJ 
                                                  SDWK 
              RZQHG                                 SHUWLQHQW 
                                                  SDWKV 
               RZQHU                                 SKDVH 
                                                  SDXO 
       

                                      Exhibit M
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1299
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                                   #:5567

    >SKDVHVSXEOLF@                                                             3DJH

     SKDVHV                         SUHYLRXV          SURFHHGLQJV 
     SKRQH        SRS                                 
             SRUWLRQV        SUHYLRXVO\            
          SRVHV          SURFHHGV 
     SKRQHV                                 
     SKRWRFRS\        SRVLWLRQ                
     SKRWRJUDSK                          SURFHVV 
     SKRWRJUDSKV       SRVVLELOLW\                 
     SKRWRV                            SULPDULO\           
     SK\VLFDOO\        SRVVLEOH        SULQFLSDOV           
     SLFWXUHV                 SULQWHG             
     SODFH        SRVVLEO\        SULRU         
             SRVW                SURFHVVLQJ 
            SRVWDO          SURGXFW 
                                 SULYDF\           SURMHFW 
     SODFHG        SRW             SULYDWH        SURQJ 
                       SRWHQWLDO               SURSHUW\ 
     SODLQ                      
     SODLQWLIIV     SRWHQWLDOO\                
                                  
     SODQQLQJ      SUDFWLFDO                
            SUDFWLFH                  
     SODWH                                        
     SOD\LQJ           SUHFLSLWDWHG            
     SOHDVH      SUHFLVH                  
           SUHFLVHO\       SULYLOHJH           
                 SUHIHUUHG       SULYLOHJHG          
     SRLQW                                             
          SUHPLVHV        SUREDEO\           SURSRVHG 
          SUHSDUH                 SURVHFXWLQJ 
                                   SURWHFW 
          SUHSDUHG                  
                                              SURWHFWLQJ 
     SROLFH     SUHVHQFH               
           SUHVHQW      SURFHGXUH          SURWHFWLYH 
     SROLFLHV            SURFHGXUHV        SURWRFROV 
                                               SURYLGH 
     SROLF\      SUHVHQWHG        SURFHHGLQJ           
           SUHVXPH                             SURYLGHG 
             SUHWW\    SURFHHGLQJ V           SXEOLF 
                                     

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                        1300
Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 103 of 110 Page ID
                                   #:5568

    >SXOOUHWXUQ@                                                                 3DJH

     SXOO                         U         UHFRUGHG            UHQWHUV 
     SXUSRVH         U              UHFRUGLQJ              
           UDLG    UHFRUGV         UHSKUDVH 
                                                UHSRUWHG 
             UDQJH          UHGXQGDQFLHV             UHSRUWHU 
               UDUHO\                              
                   UHDFK      UHGXQGDQF\          UHSRUWLQJ 
     SXUSRVHV                          UHIHUHQFH              
             UHDFKHG        UHIHUHQFLQJ         UHSUHVHQW 
            UHDFKLQJ       UHIUHVKHG              
     SXUVXDQW             UHDFWLRQ  UHIXVH               UHSUHVHQWDWLYH
              UHDG     UHJDUG                
                        UHDGLQJ       UHJDUGLQJ             UHSUHVHQWHG 
     SXUVXH        UHDG\                         
     SXVKHG              UHDO           UHJDUGOHVV          UHSUHVHQWLQJ 
     SXW           UHDOL]HG                       UHSUHVHQWV 
             UHDOO\   UHJDUGV             UHTXHVWHG 
                                UHTXHVWV 
               UHLQV                UHTXLUH 
     SXWV                 UHODWH                
                         UHDVRQ       UHODWLYH       UHTXLUHG 
              T                                           UHTXLUHV 
                             UHDVRQDEOH      UHOHDVH          UHVRXUFH 
     TXDOLILFDWLRQV 
                             UHDVRQV                  UHVSHFW 
     TXHVWLRQ 
                             UHFDOO   UHOLDEOH                
      
                                  UHOXFWDQW           UHVSRQVLEOH 
      
                                UHPDLQ               UHVW 
      
                                           UHPHPEHU            UHVWDWH 
      
                             UHFHLSW              UHVWULFWHG 
      
                             UHFHLYHG                  
      
                                                                UHVWULFWLRQ 
     TXHVWLRQLQJ 
                        UHFHLYHU  UHPLQG                
                                            UHPRWH            UHVWULFWLRQV 
     TXHVWLRQV 
            UHFHLYHUVKLS  UHPRWHO\               
                             UHFROOHFWLRQ                       UHVXOWHG 
      
                             UHFRUG    UHPRYH         UHWDLQ 
      
                                 UHPRYHG          UHWHQWLRQ 
     TXLFN 
                                                   UHWXUQ 
     TXLFNO\ 
                                UHQR            
     TXLWH 
                                            UHQWHG                 
      


                                        Exhibit M
                                        9HULWH[W/HJDO6ROXWLRQV
                      aaa
                                           1301
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                                   #:5569

    >UHWXUQHGVKRW@                                                                3DJH

     UHWXUQHG           URGJHUV           VDIHW\      VHL]H 
            URJHUV     VDNH                
                   VDWLVILHG         VHL]HG 
     UHWXUQLQJ                 VDWLVI\           VHL]LQJ 
                         VD\LQJ          
     UHWXUQV                    VHL]XUH 
                                       
     UHYLHZHG                VD\V                 
                             VFDQQHUV            
     UJN                      VFHQW               
     ULFKDUG                 VFRSH          
                                 
     ULG                                
     ULJKW                                  
                     VHDUFK        VHQGV 
                            VHQVH 
                              
           URRP                 VHQVLWLYH 
               URXJKO\               VHQW 
                             
                            VHQWHQFH 
            URXQGDERXW       VHFRQG         
          UXE                      VHQWLQHO 
           UXL]                           
            UXOH                     
           UXOHV        VHFWLRQ        
           UXQ                  VHSDUDWH 
                   VHFWLRQV             
               UXQQLQJ          VHFXUH           
             U\DQ         VHFXULW\          VHSDUDWHO\ 
                      V                    VHSWHPEHU 
                                        VHW 
                            V 
                                 VHH      VKHHW 
                            VD 
                                               VKHHWV 
                            VDIH 
     ULJKWIXO                                       VKHULII V 
                              
     ULJKWV                                           VKLIW 
                              
     ULYHUD                                              VKLIWHG 
                              
     URDG                                      VHHLQJ             VKRUW 
                              
     UREHUW                             VHHQ           
                              
                                                                VKRW 
                              


                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
                   aaa
                                         1302
Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 105 of 110 Page ID
                                   #:5570

    >VKRZVXVDQ@                                                                   3DJH

     VKRZ          VRPHERG\         VSRXVHV            VWUXFWXULQJ 
                                        VSULQJ             VWXII 
     VKRZHG            VRRQHU        VV                   
                                        VWDJHV            VXE 
     VKRZLQJ            VRUU\     VWDOOHG        VXEVHTXHQW 
     VKRZV                        VWDQGDUG           VXEVWDQFH 
     VLFN                       VXEVWDQWLDOO\
     VLFNQHVV                 VWDUW       
     VLGH         VRUW       VWDUWHG       VXJJHVWHG 
                                 
     VLJQDWXUH                          VXJJHVWV 
     VLJQLQJ                  VWDUWV            VXLWH 
     VLOYHU                       VWDWH         VXPPHU 
     VLPLODU            VRXQG                       
     VLPLODUO\          VRXQGV                            
     VLPSO\              VWDWHV          
     VLQJOH                                     
     VLWH        VSDFH                     
     VLWWLQJ           VSDQV                       
     VLWXDWLRQ         VSHDN               VXSHUYLVRU 
                                  
                       VSHFLDO                 
     VLWXDWLRQV                       VXSSOHPHQWDO
     VL[                        
     VL]H                           
     VNHWFK                            
     VNLOO                                       
     VNLS                   VWDWLQJ             
     VORZ                                VWD\           VXSSRVHG 
     VORZHG            VSHFLDOLVWV      VWD\V               
     VORZO\             VSHFLDOL]HG      VWHQRW\SH         VXUH 
     VPHOOHG           VSHFLDOW\        VWHS           
     VPHOOV                           VWHSV            
     VPRRWK            VSHFLILF                       
     VQLII                   VWLFNHU             
     VQLWNR       VSHFLILFDOO\      VWLQNV               
                            VWRUF                 
     VRLO                                 VWRUHG               
     VROH              VSHQW             VWUHHW         VXUHO\ 
     VROLFLWHG         VSRNH                            VXVDQ 
                                                          

                                       Exhibit M
                                       9HULWH[W/HJDO6ROXWLRQV
                     aaa
                                          1303
Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 106 of 110 Page ID
                                   #:5571

    >VZDWWUXH@                                                                     3DJH

     VZDW            WHFKQLFDO                       
     VZHHS             WHFKQLFLDQV                
     VZRUQ          WHFKQRORJLFDOO\                    
                                                   
     V\VWHP       WHFKQRORJ\                             
             WHFKV             WKLQN         WLPHV 
           WHOHSKRQH                      
               W            WHOO              WLWOH 
                                           WRGD\ 
     W 
                                                           
     WDJ 
                            WHOOLQJ                      WROG 
       
                            WHQ                
     WDJJHG 
                                           WRROV 
     WDNH 
                                               WRSLF 
       
                            WHUP                     
       
                                                     WRSLFV 
       
                            WHUPV                  
       
                                                        
     WDNHQ 
                            WHVWHG                        
       
                            WHVWLILHG              WRWDO 
       
                                          WRWDOLW\ 
     WDON 
                            WHVWLI\            WRWDOO\ 
       
                                                WUDFN 
     WDONHG 
                            WHVWLPRQ\                  WUDFNHG 
       
                                                                WUDFNLQJ 
     WDONLQJ 
                            WKDQN      WKLQNLQJ          WUDF\ 
       
                                          WUDLQLQJ 
       
                                         WKLUG             WUDQVFULSW 
       
                            WKHIW         WKRXJKW              
       
                            WKHLUV                 WUDQVSRUWHG 
     WDPDUD 
                            WKHRUHWLFDOO\      WKRXVDQG           WUDYLV 
     WDUJHWLQJ 
                            WKHVDXUXV         WKUHH        WUHDW 
     WDVN 
                            WKLQJ                WUHDWLQJ 
       
                                                    WUHPHQGRXV 
     WHDP 
                                   WKXUVGD\            WULFN\ 
       
                                                      WULHG 
       
                            WKLQJV          WLPH           
       
                                        WURXEOH 
       
                                            WUXH 
       
                                              
     WHDP V 
                                              

                                      Exhibit M
                                      9HULWH[W/HJDO6ROXWLRQV
                    aaa
                                         1304
Case 2:21-cv-04405-RGK-MAR Document 135-2 Filed 08/18/22 Page 107 of 110 Page ID
                                   #:5572

    >WUXVWZDUUDQW@                                                                3DJH

     WUXVW             XQGHUVWDQGDEOH                        YLGHR 
     WUXWKIXOO\                             XVSLV        YLGHRFRQIHUHQFH
     WU\          XQGHUVWDQGLQJ                         
                             XVSY          
     WU\LQJ                    YLGHRV 
     WZLQ                                    YLGHRWDSH 
     WZR                         XVXDOO\            YLHZ 
            XQGHUVWRRG         XWLOLW\      YLRODWLRQV 
                                         YLUWXDOO\ 
                                     Y             YROXQWHHUHG 
     W\OHU               XQGHUWDNH                                YV 
                                                   YD 
     W\SH                                                      Z
                                                   YDJXH 
     W\SHV          XQH[SORGHG 
                                                          ZDLW 
     W\SLFDOO\         XQIRUWXQDWHO\
                                                                     ZDLYHG 
               X              
                                                   YDJXHO\            ZDON 
                            XQLGHQWLILHG 
     XV                             YDOLG              ZDONHG 
                            XQLW 
                                      YDOXDEOHV         ZDONLQJ 
                            XQLWHG 
                                 YDULHW\           ZDOO 
                              
                                                    ZDQW 
                              
                                  YDULRXV              
                              
                                   YDVW                 
                              
                                      YDXOW         
                              
                                    YDXOWV           
                              
                                           
                              
                                          
                              
                                                
                              
                                                      
                              
     XK                                          
                              
                                              
                            XQNQRZLQJO\ 
                                                        ZDQWHG 
                            XQVHDOHG 
     XOWLPDWHO\                                        
                            XQVXFFHVVIXO
                                           
                              
     XQFODVVLILHG                             YHUGRQ                
                            XQXVXDO 
                                               YHULI\              
                            XSORDGHG 
     XQGHUFRYHU                                YHUVR]D          
                            XVDR 
     XQGHUVWDQG                                     ZDUUDQW 
                            XVH 
                                                    
                              
                                  YLFWRU          
                              
                                              
                              
                                                    
                              
                                                                     

                                     Exhibit M
                                     9HULWH[W/HJDO6ROXWLRQV
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    >ZDUUDQW]HOOKDUW@                                                       3DJH

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                                     Exhibit M
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                        )HGHUDO5XOHVRI&LYLO3URFHGXUH

                                        5XOH



             H 5HYLHZ%\WKH:LWQHVV&KDQJHV

              5HYLHZ6WDWHPHQWRI&KDQJHV2QUHTXHVWE\WKH

           GHSRQHQWRUDSDUW\EHIRUHWKHGHSRVLWLRQLV

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           DIWHUEHLQJQRWLILHGE\WKHRIILFHUWKDWWKH

           WUDQVFULSWRUUHFRUGLQJLVDYDLODEOHLQZKLFK

             $ WRUHYLHZWKHWUDQVFULSWRUUHFRUGLQJDQG

             % LIWKHUHDUHFKDQJHVLQIRUPRUVXEVWDQFHWR

           VLJQDVWDWHPHQWOLVWLQJWKHFKDQJHVDQGWKH

           UHDVRQVIRUPDNLQJWKHP

              &KDQJHV,QGLFDWHGLQWKH2IILFHU V&HUWLILFDWH

           7KHRIILFHUPXVWQRWHLQWKHFHUWLILFDWHSUHVFULEHG

           E\5XOH I       ZKHWKHUDUHYLHZZDVUHTXHVWHG

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                                 Exhibit M
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                      VERITEXT LEGAL SOLUTIONS
            COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the
       foregoing transcript is a true, correct and complete
       transcript of the colloquies, questions and answers
       as submitted by the court reporter. Veritext Legal
       Solutions further represents that the attached
       exhibits, if any, are true, correct and complete
       documents as submitted by the court reporter and/or
       attorneys in relation to this deposition and that
       the documents were processed in accordance with
       our litigation support and production standards.

       Veritext Legal Solutions is committed to maintaining
       the confidentiality of client and witness information,
       in accordance with the regulations promulgated under
       the Health Insurance Portability and Accountability
       Act (HIPAA), as amended with respect to protected
       health information and the Gramm-Leach-Bliley Act, as
       amended, with respect to Personally Identifiable
       Information (PII). Physical transcripts and exhibits
       are managed under strict facility and personnel access
       controls. Electronic files of documents are stored
       in encrypted form and are transmitted in an encrypted
       fashion to authenticated parties who are permitted to
       access the material. Our data is hosted in a Tier 4
       SSAE 16 certified facility.

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       State regulations with respect to the provision of
       court reporting services, and maintains its neutrality
       and independence regardless of relationship or the
       financial outcome of any litigation. Veritext requires
       adherence to the foregoing professional and ethical
       standards from all of its subcontractors in their
       independent contractor agreements.

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       confidentiality and security policies and practices
       should be directed to Veritext's Client Services
       Associates indicated on the cover of this document or
       at www.veritext.com.




                                 Exhibit M
                                   1308
